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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


IN RE CATTLE ANTITRUST LITIGATION           Civil No. 19-cv-1222 (JRT/HB)


This document relates to:                   CONSOLIDATED AMENDED
                                            CLASS ACTION COMPLAINT
ALL CASES
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       Plaintiffs Ranchers Cattlemen Action Legal Fund United Stockgrowers of America,

Weinreis Brothers Partnership, Minatare Feedlot, Inc., Charles Weinreis, Eric Nelson,

James Jensen d/b/a Lucky 7 Angus, Richard Chambers as trustee of the Richard C.

Chambers Living Trust, Steven Graham, and Nathan Graham (“Plaintiffs”), on behalf of

themselves and all other similarly situated persons and entities, bring claims against the

following for their violations of law from at least January 1, 2015 through the present (the

“Class Period”): Tyson Foods, Inc., Tyson Fresh Meats, Inc., JBS S.A., JBS USA Food

Company, Swift Beef Company, JBS Packerland, Inc., Cargill, Incorporated, Cargill Meat

Solutions Corporation, Marfrig Global Foods S.A., and National Beef Packing Company,

LLC (the “Packing Defendants”), and John Does 1-10 (who traded in cattle futures and

options on the Chicago Mercantile Exchange (“CME”), which is owned by the CME Group

Inc.) (the “John Doe Defendants”) (collectively, the “Defendants”).1 Based upon personal

knowledge, information and belief, and investigation of counsel, Plaintiffs allege as

follows:

I.     INTRODUCTION

       1.     This action challenges Packing Defendants’ conspiracy to suppress the price

of fed cattle that they purchased in the United States, from at least January 1, 2015 through

the present. Packing Defendants’ coordinated conduct, including slashing their respective

slaughter volumes and curtailing their purchases of fed cattle in the cash cattle market,

precipitated an unprecedented collapse in fed cattle prices in 2015. Packing Defendants


1
       Plaintiffs reserve the right to amend their Complaint once the identities of any
further alleged conspirators are established.
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then continued to suppress the price of fed cattle through coordinated procurement

practices and periodic slaughter restraint. Packing Defendants’ conspiracy – which is

confirmed by witness accounts, trade records, and economic evidence – impacted both the

physical fed cattle market and the market for live cattle futures and options traded on the

CME.

       2.     Fed cattle are steers and heifers raised and fed for the production and sale of

high quality beef products. Packing Defendants are beef packers who purchase fed cattle

from Plaintiffs and the Producer Class (defined below) for slaughter. Packing Defendants

then process the resulting carcasses into beef for sale to other processers, wholesalers, and

retail outlets. Live cattle futures contracts are standardized contracts traded on the CME

in which the contract buyer agrees to take delivery, from the seller, of a specific quantity

of fed cattle, at a predetermined price on a future delivery date.

       3.     Packing Defendants control the U.S. market for the purchase of slaughter-

weight fed cattle. Following a series of mergers and acquisitions, beginning in the 1980s

and culminating in 2013, Packing Defendants have purchased and slaughtered between 81

and 89% of all fed cattle sold within the United States on an annual basis. Figure 1

demonstrates Packing Defendants’ overwhelming share of the market for the purchase of

fed cattle:




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Figure 1. Packing Defendants’ Share of Annual U.S. Fed Cattle Slaughter Volumes2

    100.0%

     90.0%

     80.0%

     70.0%

     60.0%

     50.0%

     40.0%

     30.0%

     20.0%

     10.0%

      0.0%
              2011      2012        2013              2014          2015     2016      2017

                                Tyson   JBS USA        Cargill   National



         4.     Packing Defendants’ profitability is driven by the “meat margin,” which is

the spread between the price packers pay for fed cattle and the price they charge for beef.

As the supply of fed cattle is insensitive to short-term changes of price – owing to the long

life cycle of fed cattle, their perishable nature, and their lack of any alternative use – and

as beef demand is relatively insensitive to changes in price, the meat margin is very

sensitive to changes in aggregate industry slaughter levels.                Consequently, Packing

Defendants can increase the meat margin, and thus their profitability, by working




2
        Cattle Buyers Weekly, “Steer And Heifer Slaughter Market Share”,
http://www.cattlebuyersweekly.com/users/rankings/packerssteerheifer.php           (“CBW
Market Share”). Unless otherwise indicated, all websites cited in this Complaint were last
accessed on April 15, 2019.


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cooperatively to reduce their respective slaughter volumes, thereby depressing the price of

fed cattle.

         5.   Packing Defendants procure about 70% of their fed cattle though alternative

marketing agreements (“AMAs”), such as “formula” and “forward” contracts. Under these

contracts, the producer agrees to deliver its cattle to a Packing Defendant once they have

reached slaughter-weight at a price to be determined at or around the time of delivery. The

price formulas used by formula contracts typically incorporate reported prices of fed cattle

sold in the weekly cash cattle trade, the industry’s spot market. The price formulas used

by forward contracts incorporate live cattle futures prices, which, in turn, are directly

impacted by reported cash cattle prices. As a result, the prices paid for fed cattle in the

cash cattle trade – which constitutes a mere 20-25% of all fed cattle sold in the United

States – determines the price of almost all fed cattle bought by Packing Defendants.

         6.   Against this backdrop, fed cattle prices increased steadily between 2009 and

2014 in response to strong beef demand and a shortage of fed cattle following the droughts

of 2011 through 2013. After prices peaked in November 2014, the industry expected the

price of fed cattle to stabilize in 2015 and continue at or around that level for a number of

years.

         7.   This widely predicted price stability did not occur.         Instead, Packing

Defendants used their market power, price sensitivities, and the thin cash cattle trade to

their advantage and embarked upon a conspiracy to depress fed cattle prices. Their

conspiracy to reduce fed cattle prices, and thereby increase the meat margin, was carried

out through the following coordinated conduct: (1) Packing Defendants periodically


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reduced their slaughter volumes so as to reduce demand for fed cattle; (2) Packing

Defendants curtailed their purchase and slaughter of cash cattle during those same periods;

(3) Packing Defendants coordinated their procurement practices for cash cattle; (4) Packing

Defendants imported foreign cattle at a loss so as to reduce domestic demand; and (5)

Packing Defendants, simultaneously, closed and idled plants.

       8.     Packing     Defendants’    conspiracy   succeeded     in   precipitating   an

unprecedented collapse in fed cattle prices in the second half of 2015, and continued to

suppress fed cattle prices thereafter:

Figure 2. Fed Cattle Prices vs. Retail Beef Prices




       9.     As can be seen from the foregoing graphic, despite the drastic collapse in fed

cattle prices caused by Packing Defendants’ conspiracy, Packing Defendants and their



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wholesale customers continued to benefit from record beef prices. This disconnect allowed

Packing Defendants to reap record per-head meat margins during the Class Period at the

expense of fed cattle producers, as illustrated in the chart below:

Figure 3. Weekly Packer Per-Head Meat Margin (1,400 lb. Avg. Live Steer 65-80%
          Choice; 875 lb. Avg. Dressed Carcass)3




       10.    Witness accounts, trade records, and economic evidence confirm that

Packing Defendants agreed to depress the price of fed cattle bought during the Class Period.




3
        Table prepared using USDA Market News Service Reports: 5-Area Weekly Live
Steer Price per CWT (LM_CT150), National Weekly Boxed Beef Cutout and Boxed Beef
Cuts - Negotiated Sales (LM_XB459) and By-Product Drop Value data available here:
https://marketnews.usda.gov/mnp/ls-report-config.


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       11.    To begin with, a confidential witness previously employed by a Packing

Defendant (“Witness 1”), confirmed that Packing Defendants expressly agreed to

periodically reduce or restrain their respective slaughter volumes so as to reduce demand

for fed cattle.     Transaction data and slaughter volume records reported by Packing

Defendants and published by the United States Department of Agriculture (“USDA”) – as

well as Packing Defendants’ public calls for slaughter and capacity reductions – further

corroborate Witness 1’s account.

       12.    The same data demonstrate that Packing Defendants drastically reduced their

purchases of cash cattle during these periods of slaughter restraint. Packing Defendants

did so in an attempt to “back-up” (that is, create a glut in) the number of slaughter-ready

cash cattle and encourage producers to accept lower prices for their highly perishable

product. Doing so not only dropped cash cattle prices, but also the prices paid under

Packing Defendants’ formula and forward contracts. Once Packing Defendants had broken

the cash cattle trade and created a relative supply glut, Packing Defendants collectively

ramped up their cash cattle purchases and reaped supra-competitive profits at the expense

of the producers.

       13.    In addition, Packing Defendants also engaged in various collusive bidding

practices that further suppressed prices. In particular, Packing Defendants enforced,

through threat of boycott, an antiquated “queuing protocol” which significantly limited

cash cattle sellers’ ability to generate price competition among Packing Defendants.

Packing Defendants also typically conducted all, or substantially all, of their weekly cash

cattle purchasing during a short 30- to 60-minute window late on Friday, and would adhere


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to the price established by the Packing Defendant that had opened the weekly cash cattle

trade. The bidding practices of Packing Defendants differed from the practices of regional

packers (a small percentage of the fed cattle purchasers), which bid on and purchased cash

cattle throughout the week during the Class Period.

       14.    Packing Defendants employed other procurement methods to depress the

cash cattle price reports incorporated directly into their formula contracts and indirectly

into their forward contracts. In particular, import data show that Packing Defendants

continued importing large numbers of live cattle for slaughter from Canada and Mexico,

even after it became uneconomical for them to do so. Such conduct would not have been

economically rational but for Packing Defendants’ agreement to curtail their domestic cash

cattle purchases.

       15.    Finally, Packing Defendants’ closure and idling of certain plants

immediately prior to and during the Class Period is strongly suggestive of an agreement

amongst Packing Defendants to reduce or restrain their respective slaughter capacities so

as to limit competition for the available supply of fed cattle.

       16.    All of this conduct occurred in a market that is highly conducive to collusion

for numerous reasons including: the small number of big market beef packers, the high

barriers to entry, and frequent, easily accessible means of communications among Packing

Defendants.    In relation to the latter, Packing Defendants’ field buyers had ample

opportunity to meet and exchange commercially sensitive information with each other each




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week as they inspected feedlots within their respective territories.4 Field buyers routinely

communicated “market color” obtained from the field – including reports of their

competitors’ activities obtained from producers – back to their head office and their firms’

other field buyers through daily conference calls. Packing Defendants were also members

of various trade and industry organizations, which provided additional opportunities to

conspire.

       17.    The economic facts further support the existence of the alleged conspiracy.

Plaintiffs’ economic analysis shows that:

              a.     Supply and demand drivers of fed cattle prices, and other commonly

                     proffered explanations, do not explain the 2015 collapse in fed cattle

                     prices or the low prices that have prevailed since then; and

              b.     Fed cattle prices have been artificially depressed by an average of

                     7.9% in the three years since January 2015.

       18.    As a result of Packing Defendants’ misconduct, Plaintiffs and other

producers who sold fed cattle to Packing Defendants (the “Producer Class”) received

significantly lower prices for their cattle than they would have in a competitive market, and

purchasers of live cattle futures and options (the “Exchange Class”), including certain

Plaintiffs, suffered significant harm as a result of the same.




4
      A feedlot is a plot of land on which cattle are fed intensively so as to reach slaughter
weight.


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II.    PARTIES

       A.     Plaintiffs

       19.    Plaintiff Ranchers Cattlemen Action Legal Fund United Stockgrowers of

America (“R-CALF USA”) is a non-profit public benefit corporation existing under the

laws of the State of Montana, and has its principal place of business in Billings, Montana.

It is the largest cattle producer-only based membership trade organization, and works to

“address the market interest of U.S. cattle producers with the primary purpose of addressing

the threats posed to the domestic live cattle industry by unfair and illegal trade practices

and imports.”5 Its members include fed cattle producers who sold fed cattle to Packing

Defendants and individuals who transacted cattle futures and options on the CME during

the Class Period.

       20.    R-CALF USA has standing to bring this action pursuant to established

Supreme Court precedent for: (a) declaratory and injunctive relief in a representative

capacity on behalf of its members, who are adversely affected by Packing Defendants’

misconduct described herein and whose participation is not required for the declaratory

and injunctive relief sought; and (b) damages in its personal capacity for that same

misconduct, which has frustrated its mission to protect the interest of its members, and

diverted R-CALF USA’s resources to help its members mitigate damages and prevent

further breaches of the law by Packing Defendants. United Food & Commer. Workers




5
       R-CALF USA Amended Articles of Incorporation dated April 21, 2009, Art. VI.


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Union Local 751 v. Brown Group, 517 U.S. 544, 553 (1996) and Havens Realty Corp. v.

Coleman, 455 U.S. 363, 379 (1982).

       21.    Plaintiff Weinreis Brothers Partnership (“Weinreis Brothers”) is a general

partnership organized under the laws of the State of North Dakota, and has its principal

place of business in Scottsbluff, Nebraska.

       22.    Plaintiff Minatare Feedlot Inc. (“Minatare”) is a Nebraska corporation with

its principal place of business located at Scottsbluff, Nebraska.

       23.    Plaintiff Charles “Chuck” Weinreis (“Weinreis”) is an individual, a partner

of Weinreis Brothers, president of Minatare, and a sole proprietor with a principal place of

business in Scottsbluff, Nebraska.

       24.    Plaintiff Eric Nelson (“Nelson”) is an individual and sole proprietor with a

principal place of business in Moville, Iowa.

       25.    Plaintiff James “Jim” Jensen d/b/a Lucky 7 Angus (“Lucky 7 Angus”) is an

individual and sole proprietor with a principal place of business in Riverton, Wyoming.

       26.    Plaintiff Richard “Rick” Chambers (“Chambers”) is the trustee of the

Richard C. Chambers Living Trust (“Chambers Trust”), a trust organized under the laws

of the State of Kansas, with a principal place of business in Hays, Kansas. Chambers is

also a beneficiary of the Chambers Trust.

       27.    Plaintiffs Steven Graham and Nathan Graham own a cattle feeding business

with a principal place of business in Cherokee, Iowa. Steven Graham operated the business

as a sole proprietor until in or around 2018. Beginning in or around 2018 Steven Graham

operated the business in partnership with Nathan Graham. The Graham’s feedlot at times


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conducted business under the name “Graham Feedlot.” Steven Graham, Nathan Graham,

and the Graham Feedlot are collectively referred to herein as “the Grahams.”

      28.    During the Class Period, the Weinreis Brothers, Minatare, Weinreis, Nelson,

Lucky 7 Angus, Chambers as trustee of the Chambers Trust, and the Grahams (the

“Producer Plaintiffs”) each sold fed cattle directly to one or more of the Packing

Defendants, and Weinreis Brothers, Weinreis, Nelson, Lucky 7 Angus, Chambers as

trustee of the Chambers Trust, and Steve Graham (the “Exchange Plaintiffs) each

transacted live cattle futures and/or options on the CME.

      29.    As a consequence of the conduct described in this Complaint:

             a.     Producer Plaintiffs suffered damages in that they received less for

                    their sales of fed cattle to Packing Defendants than they would have

                    in the absence of the breaches of the law alleged herein; and

             b.     Exchange Plaintiffs suffered damages from a manipulated live cattle

                    futures and options market. Exchange Plaintiffs suffered monetary

                    losses by transacting in live cattle futures and options at artificial

                    prices directly resulting from Packing Defendants’ conduct, including

                    their suppression of fed cattle prices.

      B.     The Tyson Defendants

      30.    Defendant Tyson Foods, Inc. (“Tyson Foods”) is a Delaware corporation

with its principal place of business located at 2200 Don Tyson Parkway, Springdale,

Arkansas 72762.




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         31.   Defendant Tyson Fresh Meats, Inc. (“Tyson Fresh Meats”) is a wholly owned

subsidiary of Tyson Foods. Tyson Fresh Meats is a Delaware corporation with its principal

place of business located at 800 Stevens Port Drive, Dakota Dunes, South Dakota 57049.

         32.   Defendants Tyson Foods and Tyson Fresh Meats are referred to collectively

herein as “Tyson” or the “Tyson Defendants”.

         33.   During the Class Period, the Tyson Defendants shared a unity of corporate

interest and operated as part of a single enterprise in furtherance of the conspiracy that

purposefully directed conduct causing injury to and derived direct benefit from members

of both Classes in the United States and in this District.

         C.    The JBS Defendants

         34.   Defendant JBS S.A. (“JBS”) is a Brazilian corporation with its principal

place of business located at Av. Marginal Direta do Tiete, 500 Bloco 3-3o. andar, Vila

Jaguara, Sao Paulo 05.118-100, Brazil.

         35.   Defendant JBS USA Food Company (“JBS USA”) is a Delaware corporation

with its principal place of business located at 1770 Promontory Circle, Greeley, Colorado

80634.

         36.   Defendant Swift Beef Company (“Swift”) is a Delaware corporation with its

principal place of business located at 1770 Promontory Circle, Greeley, Colorado 80634.

         37.   Defendant JBS Packerland, Inc. (“JBS Packerland”) is a Delaware

corporation with its principal place of business located at 1770 Promontory Circle, Greeley,

Colorado 80634.




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       38.     Defendants JBS USA, Swift, and JBS Packerland were, throughout the Class

Period, wholly-owned, direct or indirect subsidiaries of JBS. Defendants JBS, JBS USA,

Swift, and JBS Packerland are referred to collectively herein as “JBS” or the “JBS

Defendants.”

       39.     During the Class Period, the JBS Defendants shared a unity of corporate

interest and operated as part of a single enterprise in furtherance of the conspiracy that

purposefully directed conduct causing injury to and derived direct benefit from members

of both Classes in the United States and in this District.

       D.      The Cargill Defendants

       40.     Defendant Cargill, Incorporated (“Cargill”) is a Delaware corporation with

its principal place of business at 15407 McGinty Road, Wayzata, Minnesota 55391.

       41.     Defendant Cargill Meat Solutions Corporation (a/k/a Cargill Protein)

(“Cargill Meat”), a subsidiary of Cargill, is a Delaware corporation with its principal place

of business at 825 East Douglas Avenue, Wichita, Kansas 67202.

       42.     Defendants Cargill and Cargill Meat are referred to collectively herein as

“Cargill” or the “Cargill Defendants.”

       43.     During the Class Period, the Cargill Defendants shared a unity of corporate

interest and operated as part of a single enterprise in furtherance of the conspiracy that

purposefully directed conduct causing injury to and derived direct benefit from members

of both Classes in the United States and in this District.




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       E.     The National Beef Defendants

       44.    Defendant Marfrig Global Foods S.A. (“Marfrig”) is a Brazilian corporation

with its principal place of business at Av. Queiroz Filho, 1560 Sabia Tower, 3rd Floor, Vila

Hamburguesa, Sao Paulo, SP 05319.           Marfrig is a meatpacking conglomerate with

operations around the world and, since June 2018, owns a controlling interest in National

Beef Packing Company, LLC.6

       45.    Defendant National Beef Packing Company, LLC (“National Beef Packing”)

is a Delaware limited liability company with its principal place of business located at 12200

North Ambassador Drive, Suite 500, Kansas City, Missouri 64163.

       46.    Marfrig and National Beef Packing are referred to collectively herein as

“National Beef” or the “National Beef Defendants.”

       47.    During the Class Period, the National Beef Defendants shared a unity of

corporate interest and operated as part of a single enterprise in furtherance of the conspiracy

that purposefully directed conduct causing injury to and derived direct benefit from

members of both Classes in the United States and in this District.

       F.     Packing Defendants

       48.     During the Class Period, each Packing Defendant purchased fed cattle in the

United States. In 2017, Tyson, JBS, Cargill, and National Beef accounted for 26%, 21%,


6
        “Marfrig Concludes Acquisition of National Beef,” Marfrig (Jun. 6, 2018),
http://www.marfrig.com.br/en/documentos?id=780; Jefferies Financial Group Inc.,
Annual Report, (Form 10-K) (Jan. 10, 2019) (“Jefferies 2018 Annual Report”), at 6. After
the acquisition, National Beef Packing’s previous majority shareholder, Jefferies Financial
Group Inc., retained a 31% interest in National Beef.



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22%, 12.5% of the total U.S. fed cattle slaughter, respectively.7 In their 2017 fiscal years,

Tyson, JBS, Cargill, National Beef had approximately $14.5 billion, $13.4 billion, $13.1

billion, $7.34 billion, in sales in their respective beef segments.8

       49.    During the Class Period, each Packing Defendant exploited the relationship

between physical cash cattle and the CME live cattle market and transacted in cattle futures

and/or options at prices that they had suppressed.

       50.    Each Packing Defendant was a co-conspirator with the other Packing

Defendants and committed overt acts in furtherance of the conspiracy alleged herein in the

United States and in this District.

       G.     John Doe Defendants

       51.     John Doe Defendants are those packing firms, financial institutions, and/or

trading firms that participated in the manipulation of the live cattle futures and options

market, as described herein. The identity of individuals and firms that trade CME futures

and options is anonymous and not available to the public. Plaintiffs will be able to identify

the John Doe Defendants through discovery of trading records in possession of the CME

Group Inc. that it is required to maintain under the Commodity Exchange Act (“CEA”)




7
        CBW Market Share.
8
        Jefferies 2018 Annual Report at 38; National Cattlemen’s Beef Association,
“Directions statistics” (2008), at 2,
http://www.beefusa.org/CMDocs/BeefUSA/Publications/CattleFaxSection.pdf; Cattle
Buyers Weekly, “Top 30 Beef Packers 2018,”
http://www.cattlebuyersweekly.com/users/rankings/beefpackers2018.php (last accessed
Apr. 15, 2019).


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including, but not limited to, Order Entry Operator identifications, Tag 50 IDs, User

Assigned IDs, and Clearing Information.

        H.    Agents and Affiliates

        52.    “Defendants,” as used herein, refers to and includes each of the named

Defendants’ predecessors, successors, parents, wholly-owned or controlled subsidiaries or

affiliates, employees, officers, and directors.

        53.   Whenever reference is made to any act, deed, or transaction of any corporate

group, corporation, or partnership, the allegation means that the corporate group,

corporation, or partnership engaged in the act, deed, or transaction by or through its

officers, directors, agents, employees, representatives, parents, predecessors, or

successors-in-interest while they were actually engaged in the management, direction,

control, or transaction of business or affairs of the corporation or partnership.

III.    JURISDICTION, VENUE AND COMMERCE

        54.   This action arises under Section 1 of the Sherman Act (15 U.S.C. §1),

Sections 4 and 16 of the Clayton Act (15 U.S.C. §§15, 26), Sections 202 and 308 of the

Packers & Stockyards Act (7 U.S.C. §§192, 209), and Sections 2(a), 6(c) and 22 of the

Commodity Exchange Act (7 U.S.C. §1 et. seq). The action is for injunctive relief,

compensatory damages, treble damages, costs of suit, and reasonable attorneys’ fees.

        55.   This Court has federal question subject matter jurisdiction under 28 U.S.C.

§§1331, 1332(d), and 1337, Sections 4 and 16 of the Clayton Act (15 U.S.C. §§15, 26),

and Section 22 of the Commodity Exchange Act (7 U.S.C. §25).                 The Court has




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supplemental jurisdiction under 28 U.S.C. §1367 over Plaintiffs’ claims brought under

State law.

       56.    Venue is proper in this District under 15 U.S.C. §§15 and 22 and 28 U.S.C.

§1391(b), (c), and (d) because at all times relevant to the Complaint: (a) Defendants

transacted business, were found, or acted through subsidiaries or agents present in this

District; (b) a substantial part of the events giving rise to Plaintiffs’ claims occurred in this

District; and (c) a substantial portion of the affected interstate trade and commerce

described below has been carried out in this District, including:

              a.      Cargill is domiciled in this District;

              b.      Packing Defendants purchased fed cattle owned or located in this

                      District,9 including from members of the Class;

              c.      Packing Defendants processed the resultant beef at plants located in

                      this District and/or sold resultant beef products to customers located

                      in this District.10

       57.    The conduct detailed in ¶56 furthered Defendants’ conspiracy to profit from

the violations of law alleged herein.



9
        The 2017 USDA Census of Agriculture records that approximately 1.4 million
beef cattle were sold from Minnesota farms in 2017. See USDA, “Census of
Agriculture”, Volume 1, Chapter 1: State Level Data: Minnesota, Table 16,
https://www.nass.usda.gov/Publications/AgCensus/2017/Full_Report/Volume_1,_Chapte
r_1_State_Level/Minnesota/st27_1_0015_0016.pdf. See also American Angus
Association, “Feedlots”,
https://www.angus.org/Commercial/Links/CommFeedlotRpt.aspx#MN.
10
        Specifically, Cargill operated a protein processing plant in Albert Lea, Minnesota,
which processed beef during the Class Period.

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       58.     Defendants’ conspiracy and conduct were within the flow of, were intended

to, and did, in fact, have a substantial effect on the interstate commerce of the United States.

During the Class Period, Defendants used the instrumentalities of interstate commerce,

including interstate wires, in furtherance of their illegal scheme.

       59.     This Court has personal jurisdiction over each Defendant because each

Defendant transacted business, maintained substantial contacts, is located, or its co-

conspirators committed overt acts in furtherance of the illegal conspiracy and manipulation

of the cattle futures and options market, in the United States, including in this District.

Defendants should, therefore, have foreseen the possibility of being brought before this

Court to answer for any illegal acts related to their business conducted here.

       60.     The Court has personal jurisdiction over all non-resident Defendants under

Minnesota’s long-arm statute, Minn. Stat. §543.19, because each such Defendant: (a) owns,

possesses, or uses real or personal property in Minnesota; (b) transacts business within

Minnesota; (c) commits acts in Minnesota causing injury or property damage; and/or (d)

commits acts outside Minnesota causing injury or property damage within Minnesota.

Moreover, Minnesota has a substantial interest in providing a forum and the burden placed

on Defendants by being brought under the state’s jurisdiction does not violate fairness and

substantial justice.

       61.     During the Class Period, all Defendants, both foreign and domestic, engaged

in conduct within the United States related to Plaintiffs’ allegations.           Defendants’

misconduct was purposefully directed at the United States and was specifically intended to

affect the prices of fed cattle bought within the United States and live cattle futures and


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options transacted by the Defendants with U.S. counterparties. Defendants’ acts were acts

in furtherance of the conspiracy that, because they occurred in the United States by

Defendants’ domestic entities, provide specific personal jurisdiction over all conspirators.

       62.    The conspiracy and the overt acts taken in furtherance of it, were directed at,

and had the intended effect of, causing injury to persons residing in, located in, or doing

business in the United States, including in this District.

       63.    As members of the conspiracy, foreign-based Defendants are liable for acts

taken in furtherance of the conspiracy by domestic Defendants, as well as their own actions

taken in the United States, and personal jurisdiction attaches, regardless of whether some

portion of the conduct in furtherance of the conspiracy might have occurred overseas.

IV.    OVERVIEW OF THE FED CATTLE MARKET

       64.    In 2017, 25.8 million fed cattle were slaughtered and processed into beef

products, accounting for 80% of the 32.2 million commercial cattle slaughtered across the

United States.11

       65.    The cattle production cycle, running from birth to slaughter, typically ranges

between 15 to 24 months, and is the longest of all animals typically raised for meat. Fed

cattle availability varies seasonally, with supplies being more plentiful over the summer

months owing to the fact that the majority of calves are born in the spring.




11
       The remaining volume comprised slaughter cows (female cattle that have birthed a
calf) and bulls, whose meat is typically used for lesser quality beef products such as
hamburger patties. “2017 Meat & Poultry Facts, 46th Ed.,” NORTH AMERICAN MEAT
INSTITUTE, 2018, at 11 (“2017 Meat & Poultry Facts”).


                                              20
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       66.    Fed cattle progress through three interrelated sectors prior to slaughter:

cow/calf; stocking and background; and feedlots, as detailed in Figure 4 below.

Figure 4. Cattle and Beef Industry from Breeding to Consumption12




       67.    Once cattle reach between around 950 and 1,500 pounds they are marketed,

transported to, and slaughtered at a packing plant operated by a beef packer such as Packing

Defendants. Packing Defendants process the carcasses into various primal cuts that are

then vacuum-packed and boxed for sale to customers of “boxed beef” who process it into


12
      U.S. Gov’t Accountability Off., GAO-18-296, U.S. Department of Agriculture:
Additional Data Analysis Could Enhance Monitoring of U.S. Cattle Market (Apr. 2018)
(“2018 GAO Report”), at 6, https://www.gao.gov/assets/700/691178.pdf.


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cuts that are ultimately sold to consumers at retail, restaurants, and other foodservice

operations. Customers of boxed beef include foodservice companies such as Sysco and

US Foods and large retailers such as Costco and Sam’s Club. Boxed beef is a commodity

product, and competition to sell boxed beef is primarily on price as between boxes of

equivalent USDA quality and yield grades.13 Packing Defendants also process boxed beef

in-house, and sell case-ready beef and other value added products (e.g., sausages) directly

to retailers, restaurants, hospitals, and others at a premium over boxed beef prices. Certain

customers will purchase both boxed beef and processed products from Packing Defendants.

       68.    As a perishable product, the majority of beef sold domestically is sold on

short-term contracts. Certain large purchasers, such as Walmart or national restaurant

chains like Outback Steakhouse, purchase some of their beef on “forward” contracts

(pursuant to which beef is sold 22 days or more prior to delivery) and other long-term

supply agreements.

       69.    Each Packing Defendant operates a live cattle procurement team, run by a

head buyer, who is supported by a number of “field buyers” who are responsible for stated

territories. Field buyers acquire cattle from feedlots situated inside their territory. They

conduct negotiations directly with the fed cattle producers and their agents within the

parameters set by their head buyer.14



13
        Amended Complaint, ¶ 24, U.S. v. JBS SA (N.D. Ill., Eastern Division) (08-cv-
05992), filed on November 7, 2008 (“U.S. v. JBS Amended Complaint”).
14
        Producers commonly delegate authority for marketing their cattle to the commercial
feedlot which has fed their cattle or to third-party marketing cooperatives. A small portion
of the fed cattle sales to Packing Defendants also occur at public auctions.


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       70.     Each Packing Defendant seeks to procure sufficient fed cattle to operate its

slaughter plants at its chosen utilization rates without interruption. Weekly plant capacity

is determined not only by plant size, but by the number and length of shifts run in a given

week. Packing Defendants’ average cost of production increases if they underutilize their

plant capacity. Thus, it is in the individual interest of each Packing Defendant to make

sure that it has timely access to sufficient fed cattle to run its plants efficiently.

       71.     Prior to the consolidation of the beef packing industry, almost all fed cattle

was sold through the “cash” or “negotiated” cattle trade:15 meat packers’ buyers went to

feedlots and auctions and paid a cattle price set each day at the dollar mark where supply

and demand met.

       72.     However, by 2015, the cash cattle trade had been drastically thinned, and

now accounts for only 20-25% of national fed cattle sales.16 Despite this, the cash cattle

trade remains the industry’s price discovery mechanism and continues to determine the

price of the nearly 71% of fed cattle bought pursuant to “formula” or “forward” contracts.

Under these agreements, commonly referred to as “captive supply” agreements, producers

commit to deliver their cattle to a packer once they have obtained slaughter-weight at a

price to be determined at or around the point of delivery pursuant to an agreed-upon

formula.




15
       For the avoidance of doubt, Plaintiffs do not allege that there are separate or sub-
markets in the U.S. product market for the purchase of fed cattle, whether demarcated by
contracting type or otherwise.
16
       A by-region breakdown of these figures appears in Appendix 1.


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Figure 5. USDA Records of Fed Cattle Procurement Methods – U.S. – 2005 to 201817

                       National Fed Cattle Procurement Methods: 2005-
                                             2018
          70.0%

          60.0%

          50.0%

          40.0%

          30.0%

          20.0%

          10.0%

             0.0%
                     2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017 2018

                          Cash       Formula       Forward Contract     Negotiated Grid




       73.          The price of cattle delivered under formula contracts is determined by

reference to a stipulated measure of cash cattle prices at, or just prior to, the date of delivery.

These contracts commonly incorporate a specified average cash price reported by the

USDA Agricultural Marketing Service’s (“AMS”) Livestock Mandatory Reporting’s

(“LMR”) cattle transaction price summaries.18 Moreover, the price of cattle delivered

under forward contracts is typically established by reference to the price of the live cattle




17
       Under negotiated grid contracts the seller and buyer negotiate a base price, which is
then raised or lowered through the application of premiums or discounts after slaughter
based on carcass performance. Negotiated grid contracts’ base prices tend to move in
parallel with cash cattle prices.
18
       These price series collate the information Packing Defendants and others are
required to submit to the USDA on a daily and weekly basis regarding their live cattle
purchases and deliveries pursuant to the Livestock Mandatory Reporting Act of 1999. The
Act imposes similar reporting obligations upon packers in relation to their boxed beef sales.



                                                   24
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futures contract settling in the month of or adjacent to the expected delivery date. As

explained in Section IX, the price of live cattle futures contracts is directly impacted by

current and expected cash cattle prices. Thus, the price of cash cattle sets or drives the

price of the bulk of Packing Defendants’ fed cattle purchases, despite constituting only a

small percentage of total fed cattle purchases.19

       74.    Each Packing Defendant uses captive supply agreements for the bulk of its

procurement needs.      This has both incentivized and facilitated Packing Defendants’

suppression of cash cattle prices. The greater a Packing Defendant’s supply of captive

cattle, the less reliant it becomes on participating in the cash cattle trade to procure

sufficient cattle to operate its slaughter plants at its chosen utilization rates. This, in turn,

allows a Packing Defendant to abstain from purchasing cash cattle when it regards market

prices to be too high. All things being equal, a reduction in demand for cash cattle results

in a drop in cash cattle prices, as producers are forced to lower their asking price in order

to attract a buyer willing to purchase and slaughter the producer’s perishable product (See

section VII(C) below). And because cash cattle prices are used to set the prices paid under

formula contracts and directly impact the live cattle futures prices incorporated into

forward agreements, a reduction in cash cattle prices reduces the price paid by Packing

Defendants for cattle bought on such contracts.




19
       The base prices used in negotiated grid contracts are also impacted by changes in
cash cattle prices.



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       75.    As the cost of fed cattle constitutes the majority of their costs of production,

Packing Defendants’ profitability is driven by the “meat margin,” which is the spread

between the price packers pay for fed cattle and the price they charge for beef.20 The meat

margin is very sensitive to changes in industry aggregate slaughter levels, and Packing

Defendants can, through cooperation, increase it. As noted by the U.S. Department of

Justice (“DOJ”), “all else being equal, when the meat packing industry reduces production

levels, feedlots and cattle producers are paid less for fed cattle because fewer fed cattle are

demanded and customers pay more for [beef] because less is available for purchase.

Because the supply of fed cattle and demand for [beef] are relatively insensitive to short-

term changes in price, even small changes in industry production levels can significantly

affect packer profits.”21 As a result of these sensitivities, Packing Defendants can improve

their profitability by coordinating their respective slaughter levels at or below the

prevailing supply of slaughter-weight fed cattle.

       76.    The fed cattle market itself is highly concentrated. In fact, during the Class

Period, Packing Defendants have collectively purchased and slaughtered between 81 to




20
       Jeffries 2018 Annual Report, at 38 (“National Beef’s profitability is dependent, in
large part, on the spread between its costs for live cattle, the primary raw material for its
business, and the value received from selling boxed beef and other products, coupled with
its overall volume.”).
21
       U.S. v. JBS Amended Complaint, ¶ 26-27. See also Section VII(B) below regarding
the elasticities of fed cattle and beef.



                                              26
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85% of the 23 to 27 million fed cattle slaughtered in the United States annually.22 See

Figure 1 above.

       77.    During this same period, Packing Defendants’ respective shares of annual

fed cattle slaughter volumes have remained stable despite any yearly variation in slaughter

numbers. See Figure 1 above. The remainder of the U.S.’s fed cattle slaughter capacity is

predominately provided by regional independent packing businesses such as Greater

Omaha and Nebraska Beef, which typically only operate one plant (“Regional Packers”).23

V.     PACKING DEFENDANTS CONSPIRED TO DEPRESS FED CATTLE
       PRICES

       78.    Fed cattle prices increased consistently from 2009 through 2014, peaking in

November 2014 at approximately $170 per hundredweight (“CWT”).24 Market analysts,

such as the USDA Economic Research Service, predicted that the price levels established

in 2014 would continue for a number of years before experiencing a gradual decline.25




22
         2017 Meat & Poultry Facts at 11; CBW Market Share.
23
         Lee Schulz, et al., “Economic Importance of Iowa’s Beef Industry,” IOWA STATE
UNIVERSITY         (Dec.     2017),     https://store.extension.iastate.edu/product/Economic-
Importance-of-Iowas-Beef-Industry; and CBW Market Share.
24
         Cattle are typically priced on a live-weight basis (the price per CWT applied to the
live-weight of the animal prior to slaughter, typically immediately prior to delivery) or a
carcass-weight or “dressed” basis (the price per CWT applied to the animal once “dressed,”
i.e., slaughtered with its head, hide, and internal organs removed). References to fed cattle
prices in this Complaint are on a live-weight basis unless otherwise stated. Live-weight
and carcass-weight prices typically move together, as both are based on the expected value
of the cattle once slaughtered.
25
         U.S. Dep’t of Agric., OCE-2015-1, Off. of the Chief Economist: USDA Agricultural
Projections to 2024, Interagency Agricultural Projections Committee (February 2015) at
81,


                                             27
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Some forecasters even foresaw no drastic change from 2014 prices “barring any outside

market shocks like drought or a U.S. economic recession.”26

        79.   While Packing Defendants initially benefited from the rise in fed cattle prices

because wholesale beef prices rose in parallel, the meat margin fell to a low of

approximately $50 in the months leading up to 2015, sending the packers’ margins into the

red.

        80.   In response, Packing Defendants commenced and/or accelerated their

conspiracy to depress and stabilize the price of fed cattle purchased in the United States.

The core of their collusion was an agreement to reduce and then manage their respective

slaughter volumes: a classic abuse of monopsony, or unfair buying power. Packing

Defendants implemented their conspiracy, by, among other conduct, agreeing to: (1)

periodically restrain or reduce slaughter numbers so as to reduce demand for fed cattle; (2)

curtail their purchases of cash cattle during these periods; (3) coordinate their procurement

practices with respect to the cash cattle they did in fact purchase; (4) import foreign cattle

to depress demand for cheaper domestic cattle; and (5) close or idle slaughter plants and

refrain from expanding their remaining slaughtering capacity.


https://www.usda.gov/oce/commodity/projections/USDA_Agricultural_Projections_to_2
024.pdf.
26
        “Livestock Monitor, A Newsletter for Extension Staff,” LIVESTOCK MARKETING
INFORMATION CENTER, STATE EXTENSION SERVICES IN COOPERATION WITH USDA (Jan.
12, 2015), at 2; and “CattleFax Predicts Strong Prices to Remain in 2015,” AGWEB (Feb.
6, 2015), https://www.agweb.com/article/cattlefax-predicts-strong-prices-to-remain-in-
2015-naa-news-release/ (“Analyst[s] . . . expect fed cattle prices averaging in the mid-
$150s [per CWT in 2015], slightly higher than last year. Prices will trade in a range from
the near $140 [per CWT] in the lows to near $170 [per CWT] in the highs in the year
ahead.”).


                                             28
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       A.     Packing Defendants Agreed to Coordinated Slaughter Reductions

       81.    As confirmed by a former employee, Packing Defendants agreed to

implement periodic kill reductions in response to actual or anticipated rises in fed cattle

prices during the Class Period. Witness 1 was employed as a quality assurance officer at

one of Packing Defendant’s slaughter plants (“Slaughter Plant 1”) for over 10 years until

his employment ceased in 2018.

       82.    Witness 1 explained that a senior operations manager from Slaughter Plant 1

told him on multiple occasions that Packing Defendants had agreed to collectively reduce

their slaughter volumes in response to rising fed cattle prices, and that, as a consequence,

Slaughter Plant 1 would reduce its slaughter volumes and procurement of cattle. Witness

1 stated that this agreement was in effect in 2015.

       83.    Witness 1 understands that the senior operations manager, who was a former

employee of another Packing Defendant, had first-hand knowledge of Packing Defendants’

anticompetitive agreement.     In addition to discussing Packing Defendants’ collusive

slaughter reduction, the senior operations manager provided Witness 1 with detailed

information as to the current and future operations of packing plants operated by other

Packing Defendants.

       84.    Witness 1 stated that the purpose of the agreed slaughter reductions was to

force cattle producers (in particular, cash cattle producers) to feed their cattle for longer

periods, and in doing so, create a condition of oversupply that would encourage producers

to either accept lower cash prices for their cattle or commit their cattle in advance on

captive supply agreements. Put another way, by creating and encouraging an apprehension


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amongst producers that they might not be able to “get their cattle dead,” Packing

Defendants sought to increase their collective leverage over producers. As Witness 1

noted, once cattle are fed beyond their ideal slaughter-weight, producers face increasing

“pressure to drop their prices in order to get rid of their [perishable] cattle.”

       85.    Witness 1 explained that the extent of the slaughter reduction varied from

plant to plant, depending upon, among other things, their slaughter capacity and the supply

of fed cattle in the surrounding region. Witness 1 stated that Slaughter Plant 1 had a 6,000

head per day slaughtering capacity and might drop its kill level back to around 5,000 heads

per day when implementing Packing Defendants’ agreement. Other slaughter plants

appear to have implemented Packing Defendants’ agreement through planned and

unplanned maintenance shutdowns.

       86.    Witness 1 also stated that Packing Defendants’ agreement extended to

proportionate slaughter reductions designed to suppress seasonal rises in fed cattle prices,

such as those traditionally experienced in the late winter/early spring, and in the fall.27




27
       The Packing Defendants’ reduction in slaughter volumes during these periods has
not gone unnoticed across the industry. See, e.g., Cassie Fish, “And the Beat Goes On,”
THE BEEF (Feb. 14, 2019), https://www.thebeefread.com/2019/02/14/and-the-beat-goes-
on-2/. (“Packers also know that February is typically the lightest slaughter month and even
though they are killing more cattle than a year ago – some plant ‘dark days’ began yesterday
as plans to keep the balance between supply and demand are paramount. Some plants will
undertake maintenance or upgrade projects and some will honor holidays such as
Monday’s President’s Day. Others will pull back hours to 36-hour work week.”).



                                               30
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       B.     Packing Defendants Agreed to Slash Cash Cattle Purchases During
              Slaughter Reductions

       87.    To place further pressure on cattle prices, Packing Defendants also agreed to

drastically reduce their purchase of cash cattle during periods of agreed slaughter reduction

or restraint. When doing so, Packing Defendants could still obtain the cattle needed to

satisfy their curtailed kill numbers by leaning upon their own cattle and cattle deliverable

under previously-agreed formula and forward contracts.28             And, because Packing

Defendants had successfully thinned the cash cattle trade in the decade preceding 2015,

even small reductions in their cash cattle purchases had an outsized impact on cash cattle

demand. For example, and as detailed in section VI(A) below, the 7% year-on-year decline

in slaughter volumes witnessed across the second and third quarters of 2015 was driven by

a 22% year-on-year decline in the slaughter of cash cattle.

       88.    By reducing their purchases of cash cattle, Packing Defendants sought to

reduce the price of all cattle by utilizing the link between cash cattle prices and the prices

paid under formula and forward contracts. As noted above, by reducing their cash cattle

purchases for a period of weeks or months, Packing Defendants could “back-up” the



28
        Until recently, Defendants JBS and Cargill owned two of the nation’s largest feedlot
businesses and fed a large number of their own cattle for slaughter at their respective plants.
Both continue to purchase all of the cattle fed by their former feedlots. See also Cassie
Fish, “Futures Treading Water; Packers Keep Pressure On” The Beef (Jun. 17, 2015),
https://www.thebeefread.com/2015/06/17/futures-treading-water-packers-keep-pressure-
on/ (“The news is well known this week and the packer has the upper hand. Boxes are
higher and margins are black but packers are keeping kills small. The reliance of packers
on captive supply coupled with enormous kill cuts enabled the packer to buy a limited
number of negotiated cattle in June and to buy them cheaper.”).



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volume of slaughter-ready cash cattle, thereby encouraging producers to overfeed their

cattle and/or accept lower prices or enter captive supply agreements to timely market their

perishable product.29

       89.    One former feedlot manager, who managed a 35,000 head commercial

feedlot until early 2016 (“Witness 2”), explained the limited incentives for a producer to

try to bid up Packing Defendants in such circumstances. Witness 2 elaborated:

       There was a good chance that you wouldn’t get your cattle sold if you
       rejected the [top-of the market] basis bid.30 Even if you did succeed in
       getting a higher [cash] bid on Friday, you had taken a huge risk for which
       others, who just accepted the [top-of the market] basis bid, got to benefit
       from [i.e., through the higher reported cash prices used to set prices under
       their contracts]. But by accepting the bid, you added to the packers’ captive
       supply and helped them push the prices down, which of course hurt you as
       well [through the lower reported cash prices].

       90.    The lower reported cash prices were then incorporated into Packing

Defendants’ formula and forward contacts – the latter via a depression of live cattle future

prices – thereby lowering the costs of all the cattle delivered to Packing Defendants’



29
        Cassie Fish, “Whatever Happened to a Fair Fight,” THE BEEF (Nov. 10, 2015),
https://www.thebeefread.com/2015/11/10/whatever-happened-to-a-fair-fight/              (“The
conversation is no longer, what’s cash going to be, but rather, who needs any. . .. The
smaller feeder is left to fight it out. Hoping he can get a buyer to come by and look at his
cattle. Pressured to sell cattle with time. Anything to get cattle gone. Those that attempt
to fight the market run the risk of making cattle too big even by today’s standards or worse,
alienate their local buyer. Powerlessness is widely felt by smaller producers on a regular
basis.”).
30
        The “basis bid” is a form of most favored nation contract under which the packer
agrees to pay the producer some variant of that week’s top reported cash price, with or
without a premium. Packing Defendants used such bids during the Class Period to further
reduce the number of cattle they needed to purchase during the weekly cash cattle trade,
thereby putting further pressure on cash cattle prices.



                                             32
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plants.31    And once a condition of actual or perceived oversupply had been created,

Packing Defendants could gradually increase their cash cattle purchases (and slaughter

volumes) without putting any significant upward pressure on prices.

       91.     As detailed in Section VI below, Packing Defendants’ implementation of this

scheme precipitated the dramatic collapse in fed cattle prices in 2015.

       C.      Packing Defendants Coordinated their Procurement Practices for Cash
               Cattle

       92.     A third prong of Defendants’ conspiracy involved coordinating the means by

which each Packing Defendant purchased cash cattle.

       93.     First, Packing Defendants supported their conspiracy by collectively

enforcing an antiquated queuing convention via threats of boycott. That convention works

as follows: once a bid is received from Packer A, the producer may either accept the bid

or pass on it, but may not “shop” that bid to other packers. If the producer passes on the

bid to seek further bids from other packers, the producer must inform them that it was bid

“X” by Packer A and that it can, therefore, only accept bids of X+$1.32 If Packer B is only

willing to bid X or if the producer wants to alter its reservation price, the producer is

obligated to first return to Packer A, who is “on the cattle” at price X and offer it a right-



31
        Cassie Fish, “Cash Trade Volume Tiny; Futures Shake it Off,” THE BEEF (Jun. 8,
2015), https://www.thebeefread.com/2015/06/08/cash-trade-volume-tiny-futures-shake-it-
off/ (“A historically small number of negotiated fed cattle traded at the eleventh hour late
Friday and Saturday at $155-$156, though the official USDA tally isn’t out yet. But at
least at this writing it appears it was enough to price formulas $4 lower than last week,
jerking packer margins back to a positive.”).
32
        In certain instances, it may be acceptable to offer/accept bids in $0.50 per CWT
increments.


                                             33
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of-first-refusal. Only if Packer A declines can the producer offer to sell to Packer B at X

or his new reservation price. At this point, however, Packer B is under no obligation to

purchase from the producer.

       94.    Witness 2 confirmed that Packing Defendants enforced strict adherence to

this convention with threats of retaliation. He explained how Packing Defendants’ field

buyers spoke to him about the importance of his feedlot complying with the convention

and that they would not “come-by” anymore should he break with it. Witness 2 also heard

from field buyers and other industry participants about other producers being “blackballed”

for breaking with the queuing convention. In those circumstances, Witness 2 understood

that the Packing Defendant who was “on the cattle” would be tipped off as to the producer’s

“breach” of the convention by the field buyer whom the producer contacted out of turn.

       95.    Second, a Packing Defendant would, for periods of time, sometimes

extending across many months, offer the only bid (or the only credible bid) for a particular

feedlot’s fed cattle (or substantially all its fed cattle) week to week, ensuring that the

feedlots affected could not regularly procure credible bids from the other Packing

Defendants. Buyers for these other Packing Defendants would even routinely fail to take

or return calls from the producer until after the Friday trading window had closed. These

arrangements – akin to a “home-market” market allocation scheme – point to an agreement

among Packing Defendants to respect each other’s relationships with their preferred

suppliers.

       96.    Third, Packing Defendants would, at times, stop buying cash cattle from

feedlots located in a particular region for a number of weeks. In doing so they intended to


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back-up cash cattle in those regions and break the resolve of affected producers to hold-

out for higher prices.   Having boycotted a region for a number of weeks, Packing

Defendants would then begin purchasing cattle from that region again during the same

week. When executing this scheme, Packing Defendants would often seek to initiate their

weekly cash cattle trade in the region recently boycotted. This allowed them to use the

lower prices agreed to in that region to set the “market” for the remainder of the trade. In

doing so, Packing Defendants were able to influence the prices of fed cattle sales across

the United States.33

       97.    Fourth, Packing Defendants suspiciously all chose to reserve most of their

weekly cash trade procurement activity for Friday, typically after the CME had closed.34

While the exact time on Friday varied from week to week, Packing Defendants would

consistently conduct all, or substantially all, of their weekly cash cattle trade during the

same 30- to 60-minute window on a Friday. During that window, Packing Defendants

would typically adhere to the price level established by the Packing Defendant that opened

the weekly cash cattle trade, which would quickly be circulated across the market via word-

of-mouth and industry reporting. If a Packing Defendant felt it necessary to offer prices

above this price level to secure the cattle it required, it would often hold such bids back

until after the core trading window had closed. This reduced the chance that reports of


33
       For similar reasons, Packing Defendants would also, at times, seek to set the market
price lower by opening the weekly trade by purchasing a pen of poor quality cattle at a
discount.
34
       This deprives producers of a price discovery mechanism and limits the ability of
producers who hedge their cattle on the CME to manage their positions in response to the
bids offered by the packers.


                                            35
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such bids might impact negotiations conducted during the core trading window. In

contrast, Regional Packers continued to purchase cash cattle across nearly every day of the

week, thereby securing pens of high quality cattle with limited competition. When

operated alongside Packing Defendants’ slaughter restraint and other bidding practices

(outlined above), this practice effectively reduced competition amongst Packing

Defendants for cash cattle to a race to place the first bid on each pen during the Friday cash

trade.

         98.   Plaintiffs’ analysis of the reported cash cattle trade across AMS LMR’s five

price reporting regions confirms both that Packing Defendants reduced their participation

in the cash cattle trade and that they conducted the bulk of the trading on Fridays. In

particular, that analysis finds that, starting in or around 2014 and 2015, Packing Defendants

dramatically increased the number of days per month on which they did not conduct any

cash cattle transactions within the five AMS LMR reporting regions.35 Figures 6 to 10

below plot these days:




35
      This trend is evident in each LMS reporting region bar except Iowa-Minnesota,
which retains a comparably robust cash cattle trade. See Appendix 1.


                                             36
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Figure 6. Days per Month without Reported Cash Transactions in TX-OK-NM




Figure 7. Days per Month without Reported Cash Transactions in Nebraska




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Figure 8. Days per Month without Reported Cash Transactions in Kansas




Figure 9. Days per Month without Reported Cash Transactions in Colorado




                                      38
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Figure 10. Days per Month without Reported Cash Transactions in IA-MN




       99.    The data reported above are consistent with the existence of an agreement

among Packing Defendants to both: (1) limit their purchases of cash cattle; and (2) conduct

all, or substantially all, of their cash cattle trade in a short window on Friday.36 If any

single Packing Defendant took these actions in the absence of such an agreement, that

Packing Defendant would risk failing to secure a sufficient quantity or quality of cattle to



36
        But for Packing Defendants’ agreement to conduct the majority of their cash cattle
procurement on Fridays, there would be fewer days per month with no reported
transactions as Packing Defendants could reasonably be expected to conduct their
purchases across the week. As the daily transaction reports published by AMS capture
purchases agreed between 2pm Central the prior day until 2pm Central the current day, it
is not possible to identify specifically the number of transactions conducted, as opposed to
reported, per day. However, analysis does confirm that the vast majority of weekly cash
cattle transactions over the Class Period were reported on Fridays and Mondays. This is
further evidence that the majority of Packing Defendants’ cash cattle purchasers are agreed
on Fridays in circumstances that: a) Friday’s reports include purchases made between 2pm
Thursday and 2pm Friday; b) Monday’s reports include purchases made between 2pm
Friday and 2pm Monday; and c) very few trades occur on Mondays.


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operate its plants at the most efficient capacity and/or meet customer demand, without any

guarantee that its actions would have the desired impact on fed cattle or beef prices. The

graphs are even more striking when one considers that Regional Packers continued to

purchase cash cattle throughout the week and thus can be regarded as being responsible for

the bulk of the transactions reported mid-week.

      100.   Packing Defendants’ increased reliance upon formula and forward contracts

and the corresponding decrease in the number of cash cattle transactions does not explain

the pattern observed above.     While the number of cash cattle bought annually fell

continuously from 2005 to 2015, it was not until 2014/2015 that the data show a dramatic

increase in the number of days without any reported cash transaction. This rise is then

sustained despite a slight increase in cash cattle buying year-on-year in 2016 and 2017.

See Figures 11-13 below37:




37
     A similar trend is evident in Colorado and Iowa-Minnesota during the period the
LMS provided reporting in those regions (2011 onwards).


                                           40
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Figure 11. Yearly Total Headcount in Cash Cattle Transactions in TX-OK-NM




Figure 12. Yearly Total Headcount in Cash Cattle Transactions in Nebraska




                                       41
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Figure 13. Yearly Total Headcount in Cash Cattle Transactions in Kansas




       101.   In short, even though cash cattle slaughter numbers increased slightly after

2015, the number of days per month in which there were no cash cattle transactions also

increased. Consequently, Packing Defendants’ coordinated reduction in the number of

days on which they purchase cash cattle is not explained merely by the decline in the

number of cash cattle purchased annually.

       D.     Packing Defendants Uneconomically Imported Foreign Live Cattle to
              Depress Demand for U.S. Fed Cattle

       102.   Packing Defendants also engaged in coordinated import and shipping

practices that reduced demand for domestic fed cattle and suppressed the cash price

transaction reports used to set the price of cattle procured under captive supply agreements.

In particular, Packing Defendants would ship cattle over uneconomically long distances to

their slaughter plants, from locations both inside the United States and from Canada and




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Mexico, to avoid bidding up the reported price of cattle in closer AMS LMR reporting

regions.

       103.   Given the additional freight costs incurred in procuring fed cattle from

Canada or Mexico, it is only economic for a Packing Defendant to do so where the

prevailing price differences as against domestic prices exceeded these additional costs. But

Plaintiffs’ analysis suggests that Packing Defendants’ import of live cattle from Canada

and Mexico began to increase slightly in 2014, and continued, even after it became

uneconomical for them to do so in or around mid-2015:38

Figure 14. Live Slaughter Cattle Imports into the U.S.39




38
      On information and belief, Plaintiffs understand that Packing Defendants are
responsible for the bulk of all live cattle imports for slaughter.
39
      Fed cattle slaughter volumes sourced from AMS LMR report “LM_CT106-National
Daily Direct slaughter, committed and delivered.”


                                            43
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       104.   As can be seen from this graph, live cattle imports had gradually declined

until 2014 when they stabilized and began a slight upward trend. While such imports were

originally economical, considering the prevailing price differences (adjusted for shipping

costs and exchange rates), from mid-2015 onwards, they were often uneconomical, and

became increasingly so as the Class Period continued.     This is particularly the case in

relation to Canadian cattle, which comprise the substantial majority of all live cattle

imports for slaughter:

Figure 15. Difference between Nebraska Fed Cattle Prices and Alberta Fed Cattle
           Prices Adjusted for Shipping Costs40




40
        To construct comparable price series for Canadian and Mexican imports, Plaintiffs
adjusted Alberta and Chihuahua fed cattle prices for shipping costs and the exchange rate
between the U.S. dollar, the Canadian dollar, and the Mexican peso, respectively. To do
so, Plaintiffs accounted for the following factors which impact shipping cost per CWT: the
cost per pound, per loaded truck to haul cattle, the capacity of the trailers used to haul


                                           44
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Figure 16. Difference between TX, OK, NM Fed Cattle Prices and Chihuahua Fed
           Cattle Prices Adjusted for Shipping Costs41




       105.   As can be seen from Figures 15 and 16 above, procuring Canadian and

Mexican fed cattle from mid-2015 onwards was regularly more expensive than procuring



cattle, the distance between Alberta and Nebraska, the distance from Chihuahua to Texas,
and fuel costs. AMS LMR price series for Nebraska and Texas, Oklahoma and New
Mexico are selected as the appropriate proxies as they are the nearest U.S. price reporting
regions to Alberta and Chihuahua, respectively. Alberta and Chihuahua are the key cattle
exporting regions of Canada and Mexico, respectively. Alberta Government “Livestock
Prices”,               accessed             December                  26,              2018,
https://economicdashboard.alberta.ca/LivestockPrices. Canadian dollars per cwt of live
cattle in Alberta converted to USD per cwt.
41
         “Cuadro Comparativo Annual Nacional Pecuario,” SISTEMA NACIONAL DE
INFORMACIÓN          E    INTEGRACIÓN      DE      MERCADOS,         http://www.economia-
sniim.gob.mx/2010prueba/CuadroAnualConsPec.asp?per=A&xedo=S&x=49&y=15.
USDA daily negotiated cash, live – fob, all grades prices, for fed steers paid to Feedlots in


                                             45
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fed cattle from the adjacent U.S. feeding regions. These periods of uneconomical imports

are identified by the portions of both figures where the live cattle price difference line graph

dips below zero.

       106.   These actions are consistent with an intent to depress U.S. fed cattle cash

prices. A Packing Defendant would not incur the additional cost associated with the import

and purchase of foreign or extra-regional cattle in the hope of lowering its captive supply

procurement costs unless it was certain that its major competitors would do the same thing,

and therefore, also abstaining from bidding up local cash cattle prices.

       E.     Packing Defendants Agreed to Refrain from Expanding Their
              Slaughtering Capacity

       107.   In furtherance of their conspiracy to manipulate the fed cattle market,

Packing Defendants also agreed to refrain from expanding their respective slaughtering

capacity, or from increasing their utilization of existing capacity. Indeed, during the run-

up of fed cattle prices until their precipitous fall in mid-2015, Packing Defendants first

sought to reduce demand through a series of plant closures: Cargill closed its Plainview,

Texas and Milwaukee, Wisconsin plants (4,000 and 1,300-1,400 head per day capacities,

respectively) in February 2013 and August 2014, respectively; National Beef shut its

Brawley, California plant (2,000 head per day) in June 2014; Tyson closed its Denison,

Iowa plant (2,000 head per day) in August 2015; and, JBS left its newly acquired Nampa,

Idaho plant closed. Packing Defendants’ plant closures, even excluding the continued



Texas-Oklahoma-New Mexico in USD per cwt. Pesos per kilogram of live steer in MX
converted to USD per cwt.


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idling of the Nampa plant, stripped out approximately two million head from the industry’s

annual slaughter capacity, thereby limiting demand for fed cattle. In relation to each

closure, the relevant Packing Defendant offered pre-textual explanations such as a lack of

available cattle in the adjacent regions and plant inefficiencies.42

       108.   As a result, and as shown in Figure 17 below, the United States has

experienced both a decline in fed cattle slaughter capacity and an underutilization of that

capacity. This decline in marketing outlets for fed cattle producers has been compounded

in certain regions, where fed cattle producers now only have one, or possibly two, slaughter

plants to which they are able to sell their cattle.

Figure 17. Annual U.S. Fed Cattle Slaughter Capacity and Utilization Over Time


                                                                       Annual Fed Cattle Slaughter
                                                                       Annual Fed Cattle Slaughter
                                                                       Capacity (thousands of head)


                                                         Utilization Rates
                                                         2000-2012              91.3%
                                                         2013                   84.3%
                                                         2014                   81.9%
                                                         2015                   80.5%
                                                         2016                   85.4%
                                                         2017                   87.9%
                                                         2018                   89.3%




42
       National Beef even rejected a significant package of incentives offered by local
government, utilities and nearby feedlots when it decided to close its Brawley plant.
“National Beef plant closing Brawley Facility,” PROGRESSIVE CATTLEMAN (March 24,
2014),       https://www.progressivecattle.com/news/industry-news/national-beef-plant-
closing-brawley-facility.


                                               47
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VI.    PACKING DEFENDANTS’ CONSPIRACY CAUSED THE 2015 PRICE
       COLLAPSE AND SUPPRESSED PRICES THEREAFTER

       A.     Packing Defendants’ Conduct Precipitated the Collapse in Fed Cattle
              Prices in 2015

       109.   Packing Defendants’ coordinated conduct was successful. Responding to the

compression of their margins in late 2014, Packing Defendants reduced their slaughter

volumes. This reduction in slaughter levels had the desired effect. For the first half of

2015, prices fluctuated at or around $160 CWT, $10 CWT (or about $130 per head) lower

than the high established in November 2014.

       110.   Not satisfied with this, Packing Defendants embarked upon an

unprecedented slaughter reduction during the second and third quarters of 2015. To place

further pressure on cattle prices, Packing Defendants also drastically reduced their

purchase of cash cattle, leaning heavily on their own cattle and other captive supplies to

satisfy their curtailed kill numbers.43 Packing Defendants’ strategy was immediately



43
        Packing Defendants’ slaughter levels of their own cattle across the second half of
2015 were steady on a year-on-year basis, as reported by AMS LMR Report “LM_CT153
– National Weekly Direct Slaughter Cattle – Prior Week Slaughter and Contract
Purchases,” https://marketnews.usda.gov/mnp/ls-report-config. See also Cassie Fish,
“Cash Trade Volume Tiny; Futures Shake it Off” THE BEEF (Jun. 8, 2015),
https://www.thebeefread.com/2015/06/08/cash-trade-volume-tiny-futures-shake-it-off/
(“A historically small number of negotiated fed cattle traded at the eleventh hour late
Friday and Saturday at $155-$156, though the official USDA tally isn’t out yet. But at
least at this writing it appears it was enough to price formulas $4 lower than last week,
jerking packer margins back to a positive. Only problem is, packers weren’t able to secure
enough cattle cheaper, even when relying on captives, to easily fill an even curtailed kill
expected this week at 540,000 head. June forward contracts are rumored being called in
as a way to offset the absence of negotiated purchases.”); and Fish, “Futures Treading
Water; Packers Keep Pressure On” supra note 28 (“The news is well known this week and
the packer has the upper hand. Boxes are higher and margins are black but packers are


                                            48
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successful, with cash cattle – and thus formula cattle – prices falling continuously across

June to about $150 CWT.44 Meanwhile, with lower slaughter volumes and lower boxed

beef output, the meat margin expanded rapidly, bloating Packing Defendants’ margins. See

Figure 3 above and Figure 21 below.

       111.   Tight fed cattle supplies do not explain Packing Defendants’ reduced

slaughter volume. The available supply of fed cattle had actually increased on a year-on-

year basis, reflecting the continuing rebuild of the cattle herd. As seen in the below chart,

fed cattle inventory was higher in almost every month of 2015, compared to 2014:




keeping kills small. The reliance of packers on captive supply coupled with enormous kill
cuts enabled the packer to buy a limited number of negotiated cattle in June and to buy
them cheaper.”).
44
        Cassie   Fish,    “Smack       Down,”     THE     BEEF      (Jun.    15,   2015),
https://www.thebeefread.com/2015/06/15/smack-down/ (“Cash cattle prices broke hard
Friday as packers successfully executed a strategy of slashed kills and limited negotiated
purchases. ”).



                                             49
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Figure 18. Inventory Levels in 1000+ Head Feedlots – 2014 vs 201545




      112.   Packing Defendants’ determination to “break” cash cattle prices through

their collective slaughter reductions and reduced cash cattle purchases was remarked upon

by industry analysts at the time. On June 12, 2015, analyst Cassandra Fish of “The Beef”

and formerly a risk manager at Tyson, speculated as to when one of Packing Defendants

might break ranks:


45
       USDA National Agricultural Statistics Service (“NASS”) “Cattle on Feed,”
Economics,      Statistics   and     Market     Information    System,      available   at:
usda.library.cornell.edu/concern/publications/m326m174z?locale-en (“Cattle on Feed”).
Cattle on feed reports provide an estimate of the number of fed cattle presently being fed
in feedlots with a 1,000 head or greater capacity. Such feedlots typically hold between 80
and 85% of all fed cattle on feed in the United States.



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       Rarely has this industry segment [the beef packers,] been an all-for-one and
       one-for-all group. All packers need to buy cattle inventory. Most have cut
       hours. So will someone break ranks, pay up for cattle and add hours to
       capture the better realization that the next boxed beef rally will bring? Will
       one short a customer only to find that order filled by a competitor?46

       113.   Ms. Fish answered her own question a few weeks later, remarking on June

25, 2015 that the “packers refuse to reach for cattle and are currently in command. After

3 weeks of sharply curtailed kills, packers are exhibiting incredible discipline and letting

the kill increase gradually,” limiting the ability “of feeders to get all cattle marketed [i.e.,

sold] in a timely fashion.”47

       114.   Packing Defendants tightened the screws during the remainder of 2015.

They continued to restrain their slaughter levels and curtail their purchases of cash cattle

even after it became clear that slaughter-ready cattle had been “backed up” and were

reaching historically heavy weights.48

       115.   This was particularly evident in September 2015, when Packing Defendants

utilized the leverage they had established over producers in the prior months to great effect,

pushing prices down to $120 CWT by months’ end, despite increasing their purchases of

cash cattle. Packing Defendants also demanded extended delivery periods of two to four

weeks as a condition of trade throughout the month, providing them with further leverage



46
        Cassie Fish, “Futures Holding Gains; Waiting on Cash,” THE BEEF (Jun. 11, 2015),
https://www.thebeefread.com/2015/06/11/futures-holding-gains-waiting-on-cash/.
47
        Cassie Fish, “Another Round of the Blues,” THE BEEF (Jun. 25, 2015),
https://www.thebeefread.com/2015/06/25/another-round-of-the-blues/.
48
        Cassie Fish, “Kills Too Small For Too Long,” THE BEEF (Sep. 8, 2015),
https://www.thebeefread.com/2015/09/08/kills-too-small-for-too-long/.



                                              51
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over producers who still had cattle to sell.49 As a result, large numbers of the cash cattle

sold in September were not slaughtered until October.

       116.   Packing Defendants’ concerted actions to depress cattle prices are

summarized by the below two charts. Figures 19 and 20 both compare the price of fed

cattle across 2015 against the number of fed cattle slaughtered across 2014 and 2015 at

packing plants subject to AMS LMR reporting obligations.50 These figures are a good

proxy for Packing Defendants’ cumulative slaughter volume as Packing Defendants

operate the substantial majority of such plants. Figure 19 details the price and slaughter

volumes of all fed cattle, however procured by Packing Defendants, whereas Figure 20

details the price and slaughter volumes of cash cattle. The average monthly slaughter

volumes between 2010 and 2014 are also detailed. As shown by these figures, the decline

in cash cattle slaughter across the second and third quarters of 2015 depressed the price of

all fed cattle. This enabled Packing Defendants to increase their slaughter volumes in the

final quarter of 2015 by purchasing cheaply the oversupply of cash cattle they had created

across the preceding two quarters.




49
         See, e.g., Cassie Fish, “No bottom in sight,” THE BEEF (Sep. 16, 2015),
https://www.thebeefread.com/2015/09/16/no-bottom-in-sight/.
50
         Figures 19 and 20 were prepared using USDA Market News Service Reports:
“LM_CT106-National direct slaughter, committed and delivered”, “LM_CT151-National
Weekly-Formula, Forward, Negotiated Net (Domestic)”, and “LM_CT154-Weekly
National direct slaughter, negotiated.”          Report series are available here:
https://marketnews.usda.gov/mnp/ls-report-config. Fed cattle prices shown in Figure 19 is
the weighted average price of all four purchase categories (formula, forward, negotiated
(i.e., cash), negotiated grid).


                                            52
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Figure 19. Total Fed Cattle Slaughter Volumes and Fed Cattle Prices – all purchase
types




Figure 20. Cash Cattle Slaughter Volumes and Cash Cattle Prices




                                       53
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      117.   As Ms. Fish lamented on November 10, 2015, the “[p]ackers no longer

compete against each other to buy fed cattle each week,” and were consequently reaping

“gangbuster profits.”51 The financial impact of Packing Defendants’ conspiracy can be

seen in the chart below, which estimates producers’ and packers’ respective per head

margins:

Figure 21. Producer vs Packer per-head margins across 201552




      118.   As shown above, during the second half of 2015, after Packing Defendants

embarked on their collusive reduction in slaughter volume, producer margins were

materially reduced, while Packing Defendants’ margins remained positive.




51
       Fish, supra note 29.
52
       Per-head margin estimates sourced from the Sterling Profit Tracker produced by
Sterling Marketing Inc. and published weekly on www.drovers.com.


                                          54
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         B.     Packing Defendants’ Ongoing Conduct Continues to Depress Fed Cattle
                Prices

         119.     Following their successful 2015, Packing Defendants continued to restrain

their collective slaughter numbers and cash cattle purchases in 2016. While monthly

slaughter volumes for the first three quarters of 2016 were up on 2015’s record lows, they

remained flat or below 2014 levels despite the available supply of fed cattle having risen

again.

         120.   As a result, the price of fed cattle continued to fall across 2016 to a low of

approximately $98 CWT in mid-October. As in 2015, Packing Defendants responded by

dramatically increasing kill volumes in the fourth quarter. Kill levels in November 2016

alone were up 24% and 19% on a year-on-year basis as compared to 2014 and 2015,

respectively.53

         121.   Packing Defendants’ success in “backing-up” cash cattle across the summer

of 2016 is confirmed by the fact that Packing Defendants were able to raise cash cattle

slaughter levels 38% and 24% in the fourth quarter of 2016 as against 2014 and 2015 levels

without causing a dramatic rise in prices.54 In fact, during the fourth quarter of 2016, prices


53
        Year-on-year comparisons calculated using USDA Market News Service Report
“LM_CT106-National direct slaughter, committed and delivered”, available here:
https://marketnews.usda.gov/mnp/ls-report-config.
54
        Id. See also Cassie Fish, “And it All Falls Down,” THE BEEF (Sep. 27, 2016),
https://www.thebeefread.com/2016/09/27/and-it-all-falls-down/ (“The big carryover of
unsold negotiated cattle from last week has gained negative status as the hours have rolled
by, with packers willing and able to sit back and lower bids to $104, $6 lower than 2 weeks
ago and $3 lower than the few that traded Friday and Saturday”); and Cassie Fish,
“Despondency,”             THE            BEEF           (Oct.          11,           2018),
https://www.thebeefread.com/2016/10/11/despondency/ (“As if on cue, kills this week are


                                              55
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remained steady at or around $100-$105 CWT until late November. Prices then hovered

between $110-$117 through December.55 This gradual price increase was consistent with

the seasonal rise in fed cattle prices typically experienced in the fourth quarter of each year

as the availability of slaughter-weight cattle declines. But for the glut in slaughter-ready

cattle created by Packing Defendants’ coordinated actions, prices would have risen

significantly higher in response to the Defendants’ dramatic increase in year-on-year

slaughter numbers.

       122.   As the cattle herd continued to rebuild, and more fed cattle became available

for slaughter in 2017 and into 2018, Packing Defendants responded accordingly. Having

already reduced their slaughter volumes below historic levels and curtailed their cash cattle

purchases, Packing Defendants began to tell the market that they had insufficient capacity

to slaughter the supposed “wall of cattle” due to reach slaughter-weight in the summer of

2018.56 Packing Defendants thus encouraged producers to commit their cattle early on




now rumored to be cutback to 585k-595k, with a cooler cleaning and Saturday kills out. .
. . A pull back in the kill with record packer margins cements the reality that easily and
efficiently killing our way through the numbers, which used to be a reality, isn’t any longer.
This makes it difficult for the market to return to fully current marketing status if there is
any slowdown in kill.”).
55
        At these prices, Packing Defendants were purchasing cash cattle at a significant
discount even compared to 2015’s depressed prices.
56
        Cassie     Fish,    “Still   Green!?!”     THE      BEEF     (Mar.      27,     2018),
https://www.thebeefread.com/2018/03/27/still-green/ (“The [packers’] mechanical
[slaughter] capacity exceeds needs [across Q2 2018]. The limitation perception is linked
to labor. The perception of there being a limitation has created fear and inspired some
cattle feeders to “get in line” by selling [cattle] out-front [i.e., on captive supply
agreements].”).



                                              56
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captive supply agreements to ensure they could “get their cattle dead” before Packing

Defendants ran out of “hook” or “shackle space.”57 At the same time, Packing Defendants

managed their respective slaughter volumes to ensure that their collective demand did not

exceed the available supply.58

       123.   Packing Defendants’ tactics succeeded. Prices fell during late Winter/Spring

2018, despite record strong beef demand and tight supplies of slaughter-ready cattle across

March and April. Indeed, prices fell from approximately $129 per CWT at the beginning

of March 2018 to $110 per CWT by the beginning of May 2018. Prices stayed at or around

that mark until mid-November 2018, a significant extension of the one to two-month

summer low typically experienced by the market. And of course, Packing Defendants

never did reach slaughter capacity.59




57
        See also, Cassie Fish, “Holding Gain,” THE BEEF (Apr. 18, 2018),
https://www.thebeefread.com/2018/04/18/holding-gains/ (“Cattle feeders, still fearful of
growing supplies in May, June and beyond continue to sell cattle for May at substantially
lower prices than current values.”).
58
        Cassie Fish, “Futures Trade Both Sides; Cash Poised To Trade Lower,” THE BEEF
(Apr. 2, 2018), available at: https://www.thebeefread.com/2018/04/02/futures-trade-both-
sides-cash-poised-to-trade-lower/ (“Looking back at March’s fed slaughter rate, it
underperformed expectations. . .. Packers appear to have responded to the tight supply of
market-ready cattle in the north by keeping the kill constrained and margins profitable and
stable.”).
59
        Cassie Fish, “Quiet Conclusion,” THE BEEF (Jun. 1, 2018),
https://www.thebeefread.com/2018/06/01/quiet-conclusion/ (“As each week goes by in
June, the calendar will take the industry into the heart of one of the most well-advertised
“walls” of market-ready cattle in memory. Now that it is a known fact that the industry
can kill 540k head of fed cattle and that demand can absorb the largest beef production in
10-years, the panic experienced in March seems overdone.”).


                                            57
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       C.     Packing Defendants Publicly Affirmed Their Commitment to Supply
              Restraint

       124.   Packing Defendants’ joint efforts to periodically curtail slaughter levels so

as to “balance” their demand to supply are further evidenced by public statements by their

senior executives about their firms’ commitment to production restraint and operating a

“margin” rather than a “market share” business. Explicit and implicit in the executives’

statements was the importance of restricting slaughter levels and capacity across the

industry as a whole.

       125.   For example, commenting on National Beef’s decision to close its Brawley,

California plant on January 31, 2014, Tyson’s COO stated “it is consistent, I guess, with

what we’ve been saying all along, as the calf crop declines and the noncompetitive feedlot

areas or noncompetitive plants or the combination thereof, we’ll probably have to curtail

production . . . to some extent, we’ve always felt that - and anticipated something like that

would happen.”60

       126.    As prices continued to rise in 2014, JBS director Wesley Mendonça Batista

responded to an analyst’s question as to whether U.S. fed cattle slaughtering capacity

needed to be rationalized by suggesting that JBS’s recent acquisition of XL Foods’ Omaha,

Nebraska plant was probably a mistake, and that slaughtering capacity needed to come out

of California and at least one other U.S. region (“If you want to be balanced you need to

have capacity to be shut there.”).61



60
       Tyson Foods Q1 2014 Results Earnings Call Transcript (Jan. 31, 2014), at 4.
61
       JBS Q3 2014 Earnings Calls Transcript (Nov. 13, 2014), at 12.


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       127.   Even after fed cattle prices had already collapsed, Tyson’s then-CEO Donald

Smith still publicly stressed the need for further slaughter reductions in August 2015:

“[b]ecause we run for margin and not for market share, we’re not willing to overpay for

cattle and we’ve had to cut back on our hours at our plants resulting in inefficiencies and

added costs. In the short-term, we are negatively impacted, but markets will equilibrate

and conditions are expected to improve for the long term.”62

       128.   JBS’s André Nogueira de Souza went further and publicly praised Packing

Defendants’ efforts to reduce industry-wide slaughter capacity through plant closures,

noting that it had left the industry in “a very good position, [to achieve] balance in the

industry in 2016, 2017, and 2018.”63

       129.   Packing Defendants’ executives evidently knew that they needed to tread a

narrow line in their public exhortations for slaughter restraint, as shown by Tyson’s then

CEO Donnie Smith’s slip during his discussion of output restraint during Tyson’s Q4 2015

Earnings Call:64

       You’ve got relatively low cattle supply, you’ve got too much -- well, not to
       say too much, probably not the right way to say it, but you’ve got excess
       industry capacity. And that limits our ability to drive margins above the 1.5%
       to 3%, we think.




62
      Tyson Foods Q3 2015 Results Earnings Call Transcript (Aug. 3, 2015), at 4.
63
      JBS Q3 2015 Results Earnings Call Transcript (Nov. 12, 2015), at 9.
64
      Tyson Foods Q4 2015 Earnings Call Transcript (Nov. 24, 2015).


                                            59
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       D.      Economic Analysis Supports the Existence of the Alleged Conspiracy

       130.    Economic analysis corroborates the direct and circumstantial evidence of the

alleged conspiracy, including the accounts of Witness 1 and Witness 2. In particular, it

confirms that: (a) the collapse in fed cattle prices in 2015 cannot be explained by common

supply or demand drivers; (b) from at least January 1, 2015, fed cattle prices were

artificially depressed by an average of 7.9%; and (c) other explanations potentially offered

for the 2015 price collapse do not withstand scrutiny.

               1.     Supply and Demand Drivers Do Not Explain the 2015 Price
                      Collapse or Subsequent Low Prices

       131.    The prices for fed cattle bought across the United States followed a

discernable pattern: increasing consistently from 2009 through 2014 (accounting for

seasonal fluctuations in prices), collapsing dramatically in 2015, and then stabilizing below

the prior trend line:65




65
        The below graphs are not adjusted for seasonal changes in fed cattle prices, which
do not explain the dramatic depression of fed cattle prices during the Class Period.
Historically fed cattle prices tend to gradually rise during the first quarter until the early
part of the second quarter, peaking in March or April. Prices then tend to trend downwards
to a summer low typically established in June or July, before commencing an upward trend
that typically peaks in November. “Annual and Seasonal Price Patterns for Cattle,”
CORNHUSKER ECONOMICS, University of Nebraska-Lincoln (Aug. 19, 2015),
https://agecon.unl.edu/cornhusker-economics/2015/annual-and-seasonal-price-patterns-
for-cattle.


                                             60
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Figure 22. AMS LMR Reported Prices for Fed Cattle by Reporting Region66




                                     61
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       132.   Fed cattle producers’ main cost – purchasing feeder cattle – also increased

and decreased during this period. But the decline in feeder cattle costs did not occur until

after fed cattle prices collapsed in 2015:

Figure 23. Fed Cattle Input Costs - Feeder Cattle Costs67




       133.   That a decline in the fed cattle producers’ costs did not cause the 2015 decline

is evident when one compares fed cattle prices to fed cattle producers’ total costs:


66
        The series presented are for negotiated cash prices for mixed lots of steers, heifers,
and cows, 80% or more choice, delivered live and priced free-on-board (FOB) feedlot. The
same pricing pattern is generally evident in all AMS LMR categories, i.e., for different
qualities, for live or dressed, priced FOB feedlot or delivered, whether steers, heifers, or
mixed.
67
        Figures 23, 24 and 25 were prepared utilizing Iowa State University’s estimate of
the break-even price (i.e., the cost) associated with feeding a 750-pound yearling to a
market weight of 1,250 pounds. Ag Econ Department, Cooperative Extension Service,
Iowa State University, “Estimated Livestock Returns” available here:
http://www2.econ.iastate.edu/estimated-returns/.



                                             62
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Figure 24. Fed Cattle Price vs. Producers’ Total Input Costs68




       134.   In fact, during 2015, when fed cattle prices underwent a drastic decline, the

costs borne by fed cattle producers actually increased. Specifically, from January 2015 to

January 2016, fed cattle prices in Iowa and Minnesota, for example, decreased by

approximately 20.7%, whereas input costs increased by approximately 2.6%.

       135.   As a result of this dramatic disconnect between fed cattle prices and input

costs, fed cattle producers suffered their largest losses in 30 years during 2015 and 2016,

as shown below:




68
       Id.


                                            63
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Figure 25. Fed Cattle Producers’ Margins Per Head Overtime: IA and MN69




       136.   While fed cattle producers did enjoy a profitable 2017, this was largely due

to a significant drop in the input costs associated with fed cattle marketed during that year,

and in particular, the price of feeder cattle. Packing Defendants were able to constrain the

typical seasonal rise in fed cattle prices across the first half of 2017 and continued to profit

from historic margins:




69
      Id. Margins calculated are for Iowa and Minnesota but similar patterns can be
observed in other cattle feeding regions.


                                              64
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Figure 26. Packers’ Estimated Per Head Margins




      137.   Nor do changes in beef demand or consumer preferences explain the

depression of fed cattle prices. As shown in Figure 27 below, while there was a 5.67%

decline in retail beef prices from January 2015 to January 2016, prices rebounded in the

months that followed, before undulating down, then up again thereafter. Importantly, the

spread between retail beef prices and fed cattle prices continued its gradual increase,

consistent with its upward trend during the past 20 years, suggesting beef demand remained

robust. That beef demand remained strong during this period is also evident from Figure

28 below:




                                           65
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Figure 27. Retail Beef Prices vs Fed Cattle Prices70




70
       USDA, Economic Research Service (“ERS”), “Meat Price Spreads,” accessed April
16, 2019 at https://www.ers.usda.gov/data-products/meat-price-spreads/.



                                         66
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Figure 28. Monthly Beef Demand Indices, Jan. 1988 – Oct. 201771




      138.   Importantly, what did change in 2015 was the meat margin. As shown in

Figure 3 (reproduced below), the meat margins realized by Packing Defendants in the

aftermath of the 2015 price collapse – which at times exceeded $600 per head – were

historically unprecedented:




71
   “Assessing Beef Demand Determinants” (Jan. 18, 2018), pp. 13-14, available at:
https://www.beefboard.org/news/files/FY2018/Assessing%20Beef%20Demand%20Deter
minants_FullReport.pdf. Chart prepared using USDA ERS record of All-Fresh Retail price
and using 1988 as the base year.


                                         67
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Figure 3. Weekly Packer Per-Head Meat Margin (1,400 lb. Avg. Live Steer 65-80%
          Choice; 875 lb. Avg. Dressed Carcass)




               2.    Econometric Analysis Corroborates the Alleged Conspiracy

        139.   Consistent with the existence of a conspiracy amongst Packing Defendants

to decrease fed cattle prices, Plaintiffs’ econometric analysis confirms that fed cattle prices

were artificially depressed by an average of 7.9% in the three years following January 1,

2015.

        140.   Plaintiffs used a professionally accepted multivariate regression-based

methodology to demonstrate the degree to which fed cattle prices were depressed.

Plaintiffs’ model of fed cattle prices over time (the “Model”) tested whether AMS LMR



                                              68
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daily reported negotiated prices72 for fed cattle were significantly depressed starting in

January 2015 compared to the earlier period beginning November 2002.

       141.   The Model controls for changes in the supply and demand factors that

explain fed cattle prices, so that any residual, unexplained price decrease can reasonably

be ascribed to artificial price suppression. In particular, aside from the AMS LMR price

data, the Model incorporates the following variables that impact fed cattle prices and which

are commonly selected by academics in their empirical models of fed cattle prices:

              a.     General determinants of demand, such as population and GDP;

              b.     Inflation;73

              c.     Costs faced by fed cattle producers, which were lagged by one month

                     consistent with the academic literature;

              d.     Prices of substitutes, namely pork, chicken, and turkey;

              e.     Net imports of beef and live cattle;




72
       The AMS publishes 359 daily fed cattle negotiated price series, for a combination
of transaction, region and cattle characteristics. The effect of the transaction, region, and
cattle characteristics on fed cattle prices are controlled for by including “fixed-effect
variables” for each possible combination, while cattle weight and dress percentage are
controlled for by including both as continuous variables in the model. Specifically, each
of the 359 fixed-effect variables for these combinations takes the value 1 when data points
meet the characteristics for that specific combination (e.g., negotiated cash prices, for
mixed lots of steers, heifers, and cows, with 80% or more choice, delivered live, FOB, in
Kansas) and 0 when data points do not. In this way, the model controls for the fact that
prices for each combination are historically and consistently different than each other.
73
       Inflation was controlled for by adjusting all dollar denominated variables to October
2018 values using the consumer price index.



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                 f.    Indicators of relative market power between buyers and sellers, such

                       as the number of packer plants nationwide, the number of feedlots

                       nationwide, and the average feedlot capacity;

                 g.    Episodes of Mad Cow disease;74

                 h.    The implementation and then repeal of Mandatory Country of Origin

                       Labeling (“COOL”);75 and

                 i.    Time of year, to control for seasonality.76

          142.   As shown in Table 1 below, fed cattle prices have been depressed by an

average of 7.9% since January 1, 2015. This result is highly statistically significant. The

Model has an R-squared of 95%, meaning it explains 95% of the variation in fed cattle

prices:




74
        Plaintiffs’ modelling is performed in accordance with the conclusions reached in the
literature that the effects of Mad Cow disease are driven primarily by the reactions of
foreign governments in terms of trade, rather than by the fears of U.S. consumers. Thus,
the indicator variable used reflects the period over which the trade for beef was
meaningfully impacted by the disease, i.e., May 2003 through December 2005.
75
        A COOL indicator variable is used to demark the implementation period specific to
the market for beef, namely September 30, 2008 to February 2016.
76
        Plaintiffs use a set of indicator variables corresponding to different months of the
year to account for seasonality in fed cattle prices.


                                              70
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Table 1. Results of Plaintiffs’ Regression Analysis77
 Independent variable:
                                                                                        78
   Underpayment indicator: Estimate January 2015 through December            Coefficient
                                                                              -0.08***
   2017                                                                        (7.9%)
   (Implied
 Product andunderpayment)
              transaction characteristics
   Log cattle weight                                                           -0.05***
   Dress percentage, expressed as a proportion                                   0.04
   Fixed effects (cattle type, fob/delivered, 5 area region, percentage            ✓
   choice, live/dressed, cash/grid)
 Demand
   Log (real) GDP                                                               0.77***
   Log population size                                                          0.19***
 Supply (costs)
   Log (real) breakeven cost (1-month lag)                                      0.40***
 Possible Substitutes
   Log (real) pork price                                                        0.94***
   Log (real) chicken price                                                    -0.35***
   Log (real) turkey price                                                     -0.18***
 Imports/Exports
   Net imports of beef, expressed as a proportion of U.S. production           -0.44***
     Net imports of cattle, expressed as a proportion of U.S. production        1.20***
 Other
 Log Packer plants count                                                        1.12***
 Log Feedlots count                                                            -0.25***
 Log average Feedlot capacity                                                  -0.64***
 Mad cow disease indicator                                                      0.08***
 COOL in effect indicator                                                       0.07***
 Seasonality
   Indicators for each month of year                                               ✓
 Constant term                                                                 -9.63***
 Number of observations                                                         124,497
 R-squared                                                                       95%

        143.   Further, the Model’s estimates for its control variables are consistent with

economic theory. For example, the negative coefficient on cattle weight in the Model


77
        *, **, and *** represent 90%, 95%, and 99% levels of confidence.



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reflects that fatter cattle tend to be of lower quality. Higher demand for beef (either as a

result of having more consumers or existing consumers having higher disposable income)

and higher costs faced by producers are both expected to drive prices for fed cattle up. The

positive coefficients on GDP, population, and breakeven cost reflect this.

       144.    The coefficient on the price of pork is positive, as is expected for a substitute

for beef. The coefficients on chicken and turkey prices are negative, but they are correlated

with pork prices, so this is likely due to an issue known as multicollinearity and is not a

concern for present purposes.79

       145.    Importantly, the Model finds that the number of packing plants has a positive

impact on fed cattle prices. This is consistent with Plaintiffs’ theory that greater slaughter

capacity results in more competitive bidding for fed cattle and accordingly higher prices,

and vice versa.

       146.    In sum, the Model’s results are consistent with Packing Defendants having

acted in a concerted fashion beginning in or around January 2015 in an attempt to depress

fed cattle prices.




78
       The regression is estimated in log-log form, by transforming all non-indicator and
non-proportion variables into natural logarithms. This transformation permits the
interpretation of the coefficients as elasticities: i.e., a coefficient of 1 represents a 1%
change in the independent variable being associated with a 1% change in the price variable.
79
       “Multicollinearity” can make it difficult to separately estimate coefficients on
highly correlated variables. This is only a concern if one is specifically interested in those
coefficients and is not a concern if one merely wants to control for their collective effect,
which is Plaintiffs’ goal here.


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                3.    Other Explanations Proffered for the Drop in Fed Cattle Prices
                      Do Not Withstand Scrutiny

       147.     The United States Government Accountability Office’s (“GAO”) 2018

Report suggests potential explanations for the price collapse proffered by Packing

Defendants and others. These explanations, however, are not borne out by the facts or

Plaintiffs’ preliminary regression analysis.

       148.     For example, the GAO Report mentions that the droughts of 2011-2013

might have reduced the availability of forage to raise calves and feeder cattle, leading

ranchers to reduce cattle inventory.80 Under this explanation, ranchers expanded their

inventory once the drought eased, thereby oversupplying the market and causing prices to

crash. However, any oversupply of feeder cattle should have caused a collapse in the price

of feeder cattle, which did not happen until well after fed cattle prices had collapsed (see

Figures 23 and 24 above).

       149.     It has also been suggested that the increase supply of corn seen in the

aftermath of the 2011 to 2013 droughts encouraged fed cattle producers to feed their cattle

for longer than they typically would. The resulting fatter cattle then received lower prices

per CWT, as is customary.       Aside from the fact that Plaintiffs’ regression analysis

controlled for both cattle weight and the price of corn, the premise of the explanation is

inconsistent with the facts. The majority of producers did not choose to overfeed their

cattle, but were forced into doing so by Packing Defendants’ coordinated slaughter

restrictions.


80
       2018 GAO Report at 12.


                                               73
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        150.   Finally, the strengthening of the U.S. dollar in 2014 and potentially related

changes in the volume of U.S. imports and exports of live cattle and beef also cannot

explain the price collapse.81 These events were not even in lock-step with the collapse in

fed cattle prices in the second half of 2015. In fact, during the second half of 2014, when

net imports of beef and the U.S. dollar were increasing, fed cattle prices still increased to

their November 2014 peak. In the first half of 2015, net imports were transiently around

8% of total U.S. production, but by November 2015 – when fed cattle prices had bottomed

out – net imports of beef had turned slightly negative.

VII.    THE FED CATTLE MARKET IS CONDUCIVE TO COLLUSION

        151.   The structure and characteristics of the market for the purchase of fed cattle

make the market highly susceptible to collusion. These facts, when considered against the

backdrop of the actions of Packing Defendants that are consistent with collusion and

inconsistent with the proper functioning of a competitive market, support an inference of

the anticompetitive agreement alleged herein.

        A.     The Fed Cattle Packing Industry Has Experienced High Consolidation
               and Is Highly Concentrated

        152.   The Fed Cattle Packing industry is highly concentrated.82 Since JBS’s

acquisition of Smithfield Beef Group, Inc. in 2008, Packing Defendants’ cumulative share


81
       Id. at 14.
82
       The U.S. national four-firm concentration ratio (CR4) for beef packing rose from
25% in 1977 to 71% in 1992, the first year in which the national Herfindahl-Hirschmann
Index (“HHI”) exceeded 1800. Since that time, the HHI index for the industry has only
increased, particularly in certain regions. U.S. v. JBS Amended Complaint, ¶ 36-37; Cai,
Stiegert, and Koontz, Regime Switching and Oligopsony power: the case of US beef


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of annual purchases of U.S. fed cattle has approximated 81-89% each year, with each

Packing Defendant’s individual share of annual purchases remaining largely static. No

Regional Packer possesses a double-digit market share, with Greater Omaha, Packing

Defendants’ nearest rival, maintaining a 2.5-3.5% market share through its Omaha,

Nebraska plant. The GAO’s 2018 Report found that lower “packer competition in any

given area was associated with lower fed cattle prices in that area.”83

       B.     The Supply of Fed Cattle and Demand for Beef Are Relatively
              Insensitive to Short-Term Changes in Price

       153.   Recent studies have shown that the quantity of beef U.S. consumers purchase

has become less sensitive to changes in beef prices, and the impact of such price changes

on beef demand is economically small relative to other factors.84 Beef’s own price

elasticity for the period 2008-2017 was estimated at -0.479, indicating that a “10% price

increase would reduce [beef] demand by 4.79%.”85 As a result, Packing Defendants are

incentivized to reduce fed cattle slaughter and beef production, as neither they, nor their

immediate customers, are harmed by the resulting wholesale and retail price rises.




processing, 41 AGRICULTURAL ECONOMICS 99-109, 99 (2011); Cai, Stiegert and Koontz,
Oligopsony Fed Cattle Pricing: Did Mandatory Price Reporting Increase Meatpacker
Market, APPLIED ECONOMIC PERSPECTIVES AND POLICY 33(4), 606–622 (2011).
83
      2018 GAO Report at 15-16.
84
      Glynn Tonsor, Jason Lusk, Ted Schroeder, “Assessing Beef Demand
Determinants” (Jan. 18, 2018), at 7-9,
www.beefboard.org/news/files/FY2018/Assessing%20Beef%20Demand%20Determinant
s_
FullReport.pdf.
85
      Id.



                                             75
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       154.   Further, as noted at ¶75 above, reduced slaughter volumes and/or lower fed

cattle prices are unlikely to significantly alter the immediately available supply of fed

cattle. Owing to cattle’s comparably long life cycle, cattle producers typically require

about 39 months to alter supply levels once a decision has been made to increase

production.86 As a result, fed cattle supplies are relatively insensitive to short-term price

changes, particularly given the absence of a substitute market into which fed cattle

producers can sell their cattle.

       C.     Fed Cattle Producers Face Significant Market Access Risk

       155.   As perishable commodities, producers face significant pressure to sell their

cattle within a matter of weeks once they reach slaughter-weight.87 As noted by Grain

Inspection, Packers and Stockyards Administration (now a part of the AMS) and shown by

Plaintiffs’ regression above, “[c]attle held beyond the optimal marketing period begin to

decrease in value because of excessive fat gain and the rising cost of gain.”88 Further,




86
        Tyson Foods Inc. “Investor Fact Book – Fiscal Year 2017” (2018), at 10,
https://s22.q4cdn.com/104708849/files/doc_factbook/Tyson-Foods-FY17-Fact-Book-
(rev-042518).pdf (“Tyson 2017 Fact Book”).; 2018 GAO Report at 5.
87
        RTI International, “GIPSA Livestock and Meat Marketing Study, Vol. 3: Fed Cattle
and Beef Industries,” prepared for U.S.D.A. Grain Inspection, Packers and Stockyard
Administration                     (2007),                   at                    5-4,
https://www.gipsa.usda.gov/psp/publication/livemarketstudy/LMMS_Vol_3.pdf.
88
        Id.


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continuing to hold slaughter-weight cattle increases the risk of death loss, which elevates

after cattle spend more than 5-6 months in the feedlot.89

       156.   These facts, coupled with the absence of a substitute market to sell fed cattle

into, exposes fed cattle producers to market access risk, namely “the availability of a timely

and appropriate market outlet.”90

       157.   That risk and the leverage it provides to Packing Defendants is exacerbated

by the significant information asymmetry faced by producers vis-à-vis Packing Defendants

with regard to the available supply of fed cattle and Packing Defendants’ procurement

needs. In relation to the former, producers have only a limited ability to obtain information

regarding the supply of fed cattle beyond the information conveyed by the USDA’s Cattle

on Feed Reports.      By contrast, Packing Defendants are able to construct detailed

inventories of upcoming fed cattle supplies through their regular contacts with all the fed

cattle producers situated within their respective procurement territories.

       158.   The impact of market access risk upon the parties’ relative bargaining power

is significant. As demonstrated by Packing Defendants’ threats regarding 2018’s supposed

“wall of cattle,” the mere use of coordinated threats of increased market access risk can be

sufficient to coerce producers to commit cattle on captive supply agreements or accept

lower cash prices.




89
       David Cooper, “Feedyard data reveals higher death losses,” PROGRESSIVE
CATTLEMAN (Dec. 24, 2015), https://www.progressivecattle.com/topics/herd-
health/feedyard-data-reveals-higher-death-losses.
90
       RTI International, supra note 87.


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       D.     There Are Numerous Trade Organizations and Opportunities for
              Packing Defendants to Meet and Collude

       159.   Packing Defendants’ management and employees have regular opportunities

to meet and collude through their membership in various trade and industry associations,

including: the National Cattlemen’s Beef Association (“NCBA”); the U.S. Meat Export

Federation (“USMEF”); the Global and U.S. Roundtables for Sustainable Beef

(“USRSB”)91; and the North American Meat Institute (“NAMI”) (which resulted from the

merger of The North American Meat Association and the American Meat Institute).

       160.   For example, the NCBA holds an annual convention (known as

“CattleCon”), a summer conference, a legislative conference, and regional meetings.92 The

NCBA Product Council, which includes Packing Defendants, other packers, and certain

retailers and restaurants, meets quarterly for the Beef Executive Forum, an invitation-only

event.93 Representatives of each Packing Defendant typically attend these events. Packing

Defendants also participate in meetings of the Beef Checkoff program run by the




91
       In 2015, Packing Defendants were among the founding members of the USRSB.
Packing Defendants participate in its annual meetings (held in spring), with JBS and Cargill
additionally having leadership positions in certain working groups.
92
       NCBA Allied Industry Membership, NAT’L CATTLEMEN’S BEEF ASS’N (2019),
www.beefusa.org/CMDocs/BeefUSA/AboutUs/2019NCBA%20Allied%20Industry%20
Brochure.pdf.
93
       Id.



                                            78
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Federation of State Beef Councils that are held in conjunction with the NCBA summer and

winter meetings.94

       161.   Similarly, the USMEF – a trade association that develops export

opportunities for U.S. protein producers and whose leadership includes current and former

employees and officers of Packing Defendants – holds both spring and fall conferences and

monthly international trade shows.95

       162.   The NAMI – which is a national trade association that represents companies

that process 95% of red meat – conducts a series of annual conference and educational

workshops all across the country.96

       E.     Packing Defendants Benefit from High Barriers to Entry

       163.   Packing Defendants benefit from substantial barriers to entry into the market.

As a result of these barriers, the entry of new fed cattle slaughter businesses, or the

repurposing of existing cow and bull slaughter facilities, is not likely to occur despite any

decrease in the price of fed cattle or increase in the wholesale price of beef.97




94
        See also The Association, NAT’L CATTLEMEN’S BEEF ASS’N (2019),
http://www.beefusa.org/theassociation.aspx and Federation, NAT’L CATTLEMEN’S BEEF
ASS’N (2019), http://www.beefusa.org/federation.aspx.
95
        Events:      Meetings,      U.S.     MEAT         EXP.     FED’N   (2019),
http://www.usmef.org/events/bod-meetings/; Events: Trade Show Calendar, U.S. MEAT
EXP. FED’N (2019), http://www.usmef.org/events/trade-shows/.
96
        See      About    NAMI,       NAT’L      AM.      MEAT      ASS’N  (2019),
https://www.meatinstitute.org/index.php?ht=d/sp/i/204/pid/204;     Events,  NAT’L
AMERICAN                       MEAT                    ASS’N               (2019),
https://www.meatinstitute.org/index.php?ht=d/sp/i/10422/pid/10422.
97
        U.S. v. JBS Amended Complaint, ¶41.



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       164.   The construction of a large packing plant requires an investment of at least

$250-$350 million, and two or more years to obtain necessary permits, plan, design, and

build.98 The construction of smaller plants, with capacity to slaughter approximately 1,000

- 1,500 head per day, would take a similar period of time and cost at least $150 million.99

Re-purposing an existing plant, or reopening a similar sized, but previously shuttered, plant

costs at least $40 million.100

       165.   Aside from the costs and time associated with opening a plant, new entrants

face difficulties complying with a significant volume of regulations, finding and training a

workforce of between 1,500 to 3,000 staff, and finding marketing outlets for the resultant

beef.101

       166.   As a result, an industry rule of thumb is that a newly opened packing plant

will lose at least 60% of its initial investment before it begins to profitably sell any of its

beef product. Not surprisingly, recent years have seen the failure of new or re-launched


98
       Id. Plaintiffs understand that the last major plant constructed by Packing Defendants
– Tyson’s plant in Lexington, Nebraska – cost over $250 million to construction 1991 and
would likely cost significantly more in today’s money.
99
       Amanda Ranke, “What’s the Future For Northern Beef Packers?” BEEF (Jul. 22,
2013), www.beefmagazine.com/blog/whats-future-northern-beef-packers; Press Release,
“JR Simplot Company and Caviness Beef Packers to Build New Idaho Beef Processing
Plant”             J.R.             Simplot              (Jan.            7             2015),
www.simplot.com/news/jr_simplot_company_and_caviness_beef_packers_to_build_new
_idaho_beef.
100
       This is the amount Iowa Premium Beef spent refurbishing the previously shuttered
Tama, Iowa plant.
101
       For example, one recent successful entrance, namely Iowa Premium Beef’s
reopening of the Tama, Iowa plant, was made possible by Sysco’s agreement to invest $36
million in the plant and take delivery of a significant volume of the resultant beef produced.



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independent fed cattle packing businesses, including Northern Beef Packers and Kane

Beef.102

         F.     Packing Defendants Have Similar Cost Structures and Have Significant
                Oversight of Each Other’s Price and Production Decisions

         167.   As a result of their similar cost structures,103 Packing Defendants have a

limited ability to steal market share from each other by operating with compressed meat

margins (i.e., bidding high for cattle and asking low for beef). But consequently, they do

have a shared interest in manipulating the meat margin to extract increased profits from

their existing market shares.

         168.   Packing Defendants’ field buyers’ weekly trips to inspect the feedlots in their

territory provide an opportunity to meet and exchange commercially sensitive information

amongst each other. Field buyers routinely communicate “market color” obtained from

the field, including reports of their competitors’ activities obtained from producers, back

to their respective head offices and their firm’s other field buyers through daily conference

calls.



102
         Amanda Radke, “What’s the Future for Northern Beef Packers?” BEEF (July 22,
2013), www.beefmagazine.com/blog/whats-future-northern-beef-packers; Dirk Lammers,
“Aberdeen beef plant open again and slaughtering” CAPITAL JOURNAL (November 19,
2015),        www.capjournal.com/news/aberdeen-beef-plant-open-again-and-slaughtering-
cattle/article_b0a76552-8f0b-11e5-aab0-4747ca2759bc.html; Greg Henderson, “Kane
Beef      Now under Court              Receivership,” DROVERS (Oct. 16, 2018),
www.drovers.com/article/kane-beef-now-under-court-receivership.
103
         On information and belief, Packing Defendants’ typical cut and kill costs per head
– i.e., the costs of slaughter and beef preparation – is between $160-$170 when their plant,
or each shift at a plant, run at or near 40 hours per week. That cost increases by
approximately $20 per head if a plant runs at only 32 hours per week.



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       169.   These realities, combined with widespread formal and informal reporting of

fed cattle and beef bids, transactions and volumes, and each slaughter plant’s current and

planned output, enable Packing Defendants to monitor each other’s adherence to any

anticompetitive agreement. The purchasing dynamics of the fed cattle market, with its

weekly cash trade, also provide Packing Defendants with the ability to punish any

suspected non-compliance with such an agreement.104

VIII. PACKING DEFENDANTS ARE RECIDIVISTS WITH A HISTORY OF
      COLLUSION

       170.   The conduct of Packing Defendants alleged herein is consistent with their

previous use of production restraint to increase the price of other commodities such as

broiler chicken and pork. JBS and Tyson maintain significant market shares in both the

broiler chicken and pork processing markets. Cargill was the fourth largest U.S. pork

processer until it sold its pork business to JBS in October 2015.

       171.   Broiler chicken and pork processers, including JBS and Tyson, are alleged

to have engaged in a series of synchronized production cuts or restrictions designed to raise

wholesale prices. The broiler chicken processors are also said to have manipulated the




104
        Research shows that markets, such as the fed cattle market, in which a large number
of sellers make repetitive sales to a small group of purchasers, facilitate the formation and
maintenance of price-fixing agreements as they provide opportunities for the purchasers to
agree, sustain and enforce market sharing arrangements. Posner, R., ANTITRUST LAW 68
(Chicago, IL: University of Chicago Press, 2nd ed. 2001), at 68; and “Price Fixing, Bid
Rigging, and Market Allocation Schemes: What They Are and What to Look For,” U.S.
DEPARTMENT                OF            JUSTICE,            ANTITRUST               DIVISION,
www.justice.gov/atr/public/guidelines/211578.htm.



                                             82
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“Georgia Dock” price benchmark – a self-reported benchmark commonly used by market

participants to set wholesale chicken prices.

       172.   In both cases, like here, the participants publicly called upon each other to

maintain supply “discipline”.105 Smithfield’s CEO, Larry Pope, went as far as to confirm

publicly in September 2009 that he had discussed pork production cuts with other “sizable

large producers”:

       The answer to that is yes, I have had conversations with several sizable, more
       than sizable large producers, in fact very large producers, and I would tell
       you they are doing some liquidation. . .I think this industry has got to solve
       it collectively. I do believe everyone is now looking, and when I’m talking
       to people who are financially extremely strong and they are cutting back. .
       .But the answer is, yes, there are others cutting back. We’re not the only
       one.106




105
       For example, on May 3, 2013 JBS/Pilgrim’s Pride CFO, Bill Lovettee said: “So I
think the [broiler] industry is doing an admirable job in being disciplined on the supply
side and I think we’ve got a combination where we combine that discipline with strong
demand for product and that’s why you’ve seen the pricing environment that we’re now
enjoying. . .I believe the industry has learned over the past three to five years that chicken
economics is going to be driven by the supply and demand of chicken.”
106
       Event Brief of Q1 2010, Smithfield Earnings Conference Call (September 8, 2009).



                                             83
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       173.    Government investigations107 and civil litigation108 regarding the processers’

alleged conspiracies are ongoing. At least one defendant, Fieldale Farms, opted to settle

with plaintiffs in the broiler class claims.109

       174.    In addition, Packing Defendants have a long history of other misconduct,

spanning breaches of the Packers & Stockyards Act as well as antitrust, anti-corruption,

environmental, health and safety regulation, both domestic and foreign. Further details of

these violations are provided in Appendix 2.

IX.    MANIPULATION OF LIVE CATTLE FUTURES AND OPTIONS

       175.    Live cattle futures have traded on the CME since 1964. Live cattle options

have traded on the CME since 1984.110 Both contracts, which are important tools used by

producers such as Plaintiffs to manage the risks associated with their businesses, were

impacted by Packing Defendants’ conspiracy.




107
        The Antitrust Section of the Florida Attorney General’s office opened an
investigation into the broiler chicken processors’ alleged anticompetitive practices, and the
Georgia Department of Agriculture has suspended the Georgia Dock price index.
108
        In re Broiler Chicken Antitrust Litigation, No. 16-cv-08637 (N.D. Ill.) and In re
Pork Antitrust Litigation, 18-cv-1776 (D. Minn). The U.S. District Court for Northern
District of Illinois held that the broiler chicken processors’ customers had alleged sufficient
facts to plausibly suggest that defendants’ conduct was the product of a conspiracy. See In
re Broiler Chicken Antitrust Litigation, 290 F. Supp. 3d 772 (2017) (“Defendants’ business
strategies during the relevant time period are indicative of a conspiracy.”).
109
        Order Granting Final Approval of Settlement with Defendant Fieldale Farms
Corporation, In re Broiler Chicken Antitrust Litigation, No. 16-cv-08637 (N.D. Ill.), Nov.
16, 2018, Docket # 1414.
110
        Historical First Trade Dates, CME, https://www.cmegroup.com/media-
room/historical-first-trade-dates.html.


                                                  84
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       A.     Futures and Options Generally

       176.   A commodity futures contract is a standardized bilateral agreement for the

purchase and sale of a particular commodity – like fed cattle – at a specified time. In the

context of futures trading, a commodity is the underlying instrument upon which a futures

contract is based.

       177.   A futures contract typically involves two parties, with an exchange (in this

case, the CME) acting as a central clearinghouse that guarantees both sides of the

transaction, thereby eliminating counterparty risk. The buyer of a futures contract is

typically considered a “long,” whose position will increase in value as the underlying

physical or cash market price increases.       The seller of a futures contract is typically

considered a “short” whose position will increase in value as the underlying physical or

cash market price decreases.

       178.   Rather than take delivery, futures market participants almost always “offset”

their futures contracts prior to actual delivery. For example, a purchaser of one live cattle

futures contract may liquidate, cancel, or offset a future obligation to take delivery of the

cattle by selling one live cattle futures contract. The difference between the initial purchase

price and the subsequent sale price represents the realized profit or loss for the trader.

       179.   An options contract comes in two forms: a “call option” and a “put option.”

The buyer of a call option has the right (but not the obligation) to purchase the underlying

asset at a set price (the “strike price”). The seller of the call option (sometimes called the

“writer”) has the obligation to deliver the underlying asset at the strike price if the buyer

exercises its right. The buyer of a put option has the right (but not the obligation) to sell


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the underlying asset at a set price (the “strike” or “exercise” price). The seller of a put

option has the obligation to buy the underlying asset at the strike price if the buyer exercises

its right.

        B.     Live Cattle Contracts

        180.   When fed cattle have reached slaughter-weight, they are referred to as “live,”

“finished,” or “fat” cattle. They can be distinguished from “feeder cattle”, which refers to

fed cattle which weigh between 700-900 pounds and have yet to enter the feedlot. Live

cattle, for purposes of CME live cattle futures contracts, weigh no less than 1,050 pounds

and no more than 1,550 pounds (or 1,350 pounds for heifers).

        181.   Trading in CME live cattle futures and options is subject to the rules and

regulations of the CME, including Chapter 101111 (live cattle futures), Chapter 101A112

(options on live cattle futures), and Chapter 101B113 (options on live cattle futures calendar

spreads) of the CME Rulebook.

        182.   CME live cattle futures and options are traded electronically on CME’s

Globex electronic trading platform. While both live cattle futures and options were also

traded in CME’s “open outcry” trading pits at the beginning of the Class Period, only live

cattle options continued to be so traded after the CME’s decision to close down most of its

futures trading pits in July 2015.




111
      CME Rulebook, CME, https://www.cmegroup.com/rulebook/CME/ (“CME
Rulebook”), Chapter 101.
112
      CME Rulebook, Chapter 101A.
113
      CME Rulebook, Chapter 101B.


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              1.     Live Cattle Futures

       183.   Chapter 101 of the CME Rulebook sets forth the rules for trading in CME

live cattle futures–including contract size, trade dates, and tick sizes–as well as deliveries

on CME live cattle futures contracts, including, for example, weight deviations, location

differentials, and delivery points.

       184.   One live cattle futures contract calls for the delivery of 40,000 pounds of live

cattle producing 65% Choice, 35% Select USDA grade of live steers or live heifers.114

       185.   Live cattle futures prices are quoted in cents per pound. The minimum tick

size is $0.00025 per pound (or $10 per contract).115 A one penny ($0.01) change in the per

pound price results in a $400 change in the contract price.

       186.   Live cattle futures trade for the following contract months: February, April,

June, August, October, and December. Nine contract months are eligible for trading at any

given time. They include the six upcoming contract months and the next three contract

months in the calendar cycle.116 For example, in March 2019, the following contract

months were eligible for trading: April 2019, June 2019, August 2019, October 2019,




114
        CME Rulebook, Chapter 101, Rules 10101, 10102.B.
115
        Live Cattle Futures Contract Specs, CME,
https://www.cmegroup.com/trading/agricultural/livestock/live-
cattle_contract_specifications.html.
116
        Live Cattle Futures Quotes, CME,
https://www.cmegroup.com/trading/agricultural/livestock/live-cattle_quotes_globex.html.



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December 2019, February 2020, April 2020, June 2020, August 2020. Trading continues

until the last business day of the given contract month at 12:00 p.m.117

       187.    Live cattle futures are “physically” settled. This means the buyer of a live

cattle future has a right to receive (and the seller of a live cattle future has the obligation to

deliver) 40,000 pounds of cattle per contract.118

       188.    Buyers may choose either live graded deliveries or carcass graded

deliveries.119 Deliveries of live cattle are to be made at approved delivery points at

approved livestock yards in the following territories: Colorado; Iowa / Minnesota / South

Dakota; Kansas; Nebraska; Texas / Oklahoma / New Mexico.120 Buyers electing carcass

graded delivery must specify an approved slaughter plant enumerated by the CME.

Eligible slaughter plants include those enumerated for the livestock yards to which the

cattle were tendered, and any other approved slaughter plant that is within 225 road miles

of the originating feedlot.




117
      Supra, note 115.
118
     Self-Study Guide to Hedging with Livestock Futures and Options, CME, (Version
17),        at       7,     https://www.cmegroup.com/trading/agricultural/files/AC-
215_SelfStuy_GuideNYMEX.pdf.
119
     CME Rulebook, Chapter 101, Rules 10103.B, 10103.C.
120
      Id., Rule 10103.B.



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       189.   A live delivery unit must consist entirely of steers or entirely of heifers.121

All cattle are required to be healthy,122 and all cattle must be born and raised exclusively

in the United States.123

              2.      Live Cattle Options

       190.   Chapter 101A of the CME Rulebook outlines the specifications for live cattle

options. The asset underlying a live cattle option is a live cattle futures contract. A live

cattle option permits the holder to buy, in the case of the call, or to sell, in the case of the

put, one live cattle futures contract. Live cattle options trade in cents per pound. The

minimum price fluctuation is $0.00025 per pound.124

       191.   Live cattle options trade in the following contract months: February, April,

June, August, October and December.125 At any given time, ten contract months trade, the

six months in the February bi-monthly cycle, plus the three next in that cycle in the

following year, as well as one nearby “serial” month of January, March, May, July,

September, or November.126 Trading in live cattle options ends on the first Friday of the

contract month at 1:00 p.m.127



121
        Id.
122
        Id.
123
        Id., Rule 10101.
124
        Live Cattle Options Contract Specs, CME,
https://www.cmegroup.com/trading/agricultural/livestock/live-
cattle_contractSpecs_options.html.
125
        Id.
126
        Id.
127
        Id.



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       192.    For monthly options that expire in the February bi-monthly cycle (i.e.,

February, April, June, August, October, and December), the underlying futures contract is

the futures contract for the month in which the option expires. For example, the underlying

futures contract for an option that expires in February is the February futures contract.128

       193.    For monthly options that expire in months other than those in the February

bi-monthly cycle (i.e., January, March, May, July, September, and November), the

underlying futures contract is the next futures contract in the February bi-monthly cycle

that is nearest to the expiration of the option. For example, the underlying futures contract

for an option that expires in January is the February futures contract.

       194.    Live cattle options are “American style,” meaning that the option holders can

exercise their options at any point prior to expiration of trading.129

       195.    In addition, CME lists “live cattle calendar spread options,” which trade

pursuant to CME Rule 101B. In the case of calendar spreads, the option is to buy (in the

case of the call), or to sell (in the case of the put), one live cattle futures calendar spread.130

A live cattle futures calendar spread option consists of a combination of a purchase in one

futures contract month and a sale in another futures contract month.131 Unlike American

style options, these options can only be exercised on the day of expiration.132




128
       CME Rulebook, Chapter 101A, Rule 101A01.D.
129
       Id., Rule 101A02.A.
130
       CME Rulebook, Chapter 101B, Rule 101B01.
131
       Id.
132
       Id., Rule 101B02.


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       C.     Relationship Between Live Cattle Futures and Cattle Spot (Cash) Prices

       196.   There is a strong interplay between live cattle futures and the underlying fed

cattle cash market. As CME observes, “livestock cash prices and futures prices tend to

move up and down together, which is what makes the concept of effective hedging

possible.”133 “[F]utures prices [are] reflective of the main cash markets.”134

       197.   As the CME has recognized, livestock (including live cattle and feeder cattle)

contract specifications are designed to ensure “a two-way relationship between the

benchmark livestock futures market and the numerous livestock cash markets. The price

that is discovered in a futures market comes from the interaction between the supply

(sellers’ offers) and demand (buyers’ bids).”135 Many futures market “bids and offers come

from cash market participants.”136

       198.   “In turn, the futures contract price is then used by cash market participants to

transact in the spot (current) market or for cash forward type contracts.”137 The relationship

between the cash market and the futures market is particularly strong with respect to live




133
        INTRODUCTION TO LIVESTOCK: Learn about Basis: Livestock, CME, available
at https://www.cmegroup.com/education/courses/introduction-to-livestock/learn-about-
basis-livestock.html.
134
        Self-Study Guide to Hedging with Livestock Futures and Options, CME (2009
Version), at 9, available at http://www.kisfutures.com/CMELivestockSelfStudy.pdf.
135
        Self-Study Guide to Hedging with Livestock Futures and Options, CME (Version
17), at 6, available at https://www.cmegroup.com/trading/agricultural/files/AC-
215_SelfStuy_GuideNYMEX.pdf.
136
        Id.
137
        Id.


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cattle futures because, as the CME has observed, “many cash market contracts are ‘based

on’ or ‘referenced to’ the futures market price.”138

       199.      Live cattle futures contracts are designed so that their prices converge with

physical cash cattle prices when they expire.139 For physically settled contracts such as

live cattle, “[t]he possibility of delivery on the futures contract generally causes the futures

price during the delivery month to align with the cash price at the futures delivery

locations.”140

       200.      Regression   analyses    demonstrate    a   strong,   statistically-significant

relationship between: (1) changes in the physical cash cattle prices reported in the afternoon

of day 1 with live cattle futures market price changes on day 2; (2) changes in physical

cash cattle prices reported on day 2 and live cattle futures market price changes on day 2;

and (3) changes in live cattle futures market prices on day 2 and physical cash market prices

changes reported on the morning of day 3.

       201.      The figures below depict the close relationship between price changes in the

fed cattle cash market (“Cash am” and “Cash pm”) and price changes in the live cattle

futures market, across all contract months:




138
       Id.
139
       Supra note 134.
140
       Id. at 11.


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Figure 29. Relationship Between 2015 Live Cattle Futures Contracts and AMS LMR
National Morning and Afternoon Cash Cattle Purchase Reports




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Figure 30. Relationship Between 2016 Live Cattle Futures Contracts and AMS LMR
National Morning and Afternoon Cash Cattle Purchase Reports




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Figure 31. Relationship Between 2017 Live Cattle Futures Contracts and AMS LMR
National Morning and Afternoon Cash Cattle Purchase Reports




                                      95
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Figure 32. Relationship Between 2018 Live Cattle Futures Contracts and AMS LMR
National Morning and Afternoon Cash Cattle Purchase Reports




       D.     Packing Defendants Traded CME Live Cattle Futures and Options

       202.   Packing Defendants interact regularly with the CME live cattle markets.

       203.   During the period February 1, 2018 through January 31, 2019, for example,

Packing Defendants had the only CME-approved slaughter plants for live cattle.141 As a

result, they are central participants in the CME live cattle market.




141
       CME Group, Chicago Mercantile Exchange Inc. 2018 Approved Slaughter Plants
for Live Cattle, https://www.cmegroup.com/content/dam/cmegroup/notices/market-
regulation/2018/01/2018-approved-slaughter-plants-for-live-cattle.pdf.


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        204.   In addition, Packing Defendants regularly trade live cattle futures and

options. Cargill touts its ability to effectively “manage risk” in live and feeder cattle futures

and options contracts. “Our risk management team has more than 20 years of experience

helping customers manage price risks across 70-plus commodities markets” including

“Live cattle” and “Feeder cattle.”142 News reports indicate that it trades actively in the

cattle futures markets. For example, on January 25, 2016, Cargill stated through a

spokesperson, “We’ve seen not only a very volatile cattle futures market, but prices were

coming down a lot.”143

        205.   Tyson uses “derivative financial instruments, primarily futures and options,

to reduce our exposure to various market risks related to commodity purchases,”144 as well

as “to reduce the effect of changing prices and as a mechanism to procure the underlying

commodity . . . .”145 “We hold certain positions, primarily in . . . livestock futures, that are

not hedges for financial reporting purposes.”146          “As part of our commodity risk




142
        Cargill,   Agriculture  Risk     Management,      https://www.cargill.com/price-
risk/crm/agriculture.
143
        Gregory Meyer, Cattlemen lock horns with futures exchange over market volatility,
FINANCIAL TIMES (Jan. 25, 2016), https://www.ft.com/content/6eed1268-c130-11e5-846f-
79b0e3d20eaf.
144
        Tyson Foods, Inc., Quarterly Report (Form 10-Q) at 37 (February 4, 2011),
https://www.sec.gov/Archives/edgar/data/100493/000119312511024082/d10q.htm.
145
        Tyson Foods, Inc., Annual Report (Form 10-K) at 8 (Sept. 29, 2018),
https://s22.q4cdn.com/104708849/files/doc_financials/quartely/2018/q4/TSN-FY18-10-
K.pdf.
146
        Id. at 14.



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management activities, we use derivative financial instruments, primarily futures and

options, to reduce our exposure to various market risks related to these purchases . . . .”147

        206.    JBS references the CME live cattle futures contract in its procurement

contracts.148 Its financial reports also indicate a high level of commodities, derivatives and

futures trading.149 Marfrig likewise acknowledges that it trades “futures market derivative

financial instruments” to “reduce commodity-related price risk.”150 National Beef Packing

similarly stated that it used “futures contracts in order to reduce exposure associated with

entering into firm commitments to purchase live cattle at prices determined prior to the

delivery of the cattle . . . .”151

        207.    The specifics of Packing Defendants’ CME cattle futures and options trading

activity are not public information.      Trading on the CME is anonymous.           Packing

Defendants do not publicly disclose their specific trading activity. This information can




147
        Id. at 52.
148
        Driftless      Region      Beef     Conference      2013,    Sample    Contract,
https://lib.dr.iastate.edu/cgi/viewcontent.cgi?referer=https://www.google.com/&httpsredir
=1&article=1034&context=driftlessconference.
149
        JBS S.A., Condensed Financial Statements and Independent auditors’ report, at 46
(Sept.                                       30,                                  2018),
https://jbss.infoinvest.com.br/enu/4812/DF%20JBS%20300918%20Ingls%20-
%20Condensada%2013.11%2018h20_Parecer.pdf.
150
       Marfrig Global Foods, 2017 Sustainability Report at 77,
http://www.marfrig.com.br/Uploads/Arquivos/Marfrig_RA17_eng.pdf.
151
        National Beef Packing Company, LLC, Annual Report (Form 10-K) at F-15,
(November                                       16,                               2011),
https://www.sec.gov/Archives/edgar/data/1273784/000144530511003450/nbp201182710
k.htm.



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only be obtained through discovery from Packing Defendants and third parties such as

CME.

       E.      Packing Defendants Directly Caused CME Live Cattle Futures and
               Options Prices to Be Artificial

       208.    As explained above, Packing Defendants suppressed the price of fed cattle.

Because slaughter-weight fed cattle is the commodity underlying CME live cattle futures

and options, Defendants necessarily and directly caused prices of live cattle futures and

options to be artificial.

       209.    Packing Defendants had the motive to cause artificial depression of futures

prices, separate and apart from their futures transactions. In particular, futures prices are

used to set the price of cattle delivered under forward contracts, as explained above. As

such, by depressing live cattle futures contracts Packing Defendants lower the cost of cattle

procured under forward contracts.

       210.    Packing Defendants’ conduct in the cash cattle market had a direct and

proximate impact on prices in the CME live cattle futures and options markets. For

example, on August 14, 2015, Tyson announced that it was closing its Denison, Iowa beef

plant, which resulted in price declines in the cash and futures markets. In particular, the

spot or front-month August contract fell $0.004 per pound ($160 per live cattle future) and

the October 2015 contract fell $0.01 per pound ($400 per live cattle future). According to




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one market participant, “[s]ome feedlots may have surrendered after seeing futures fall

earlier in the session, partly on word that Tyson closed a beef plant.”152

X.      CLASS ACTION ALLEGATIONS

        211.   Plaintiffs bring this action on behalf of themselves, and, under Rules 23(a)

and (b) of the Federal Rules of Civil Procedure, on behalf of all members of the following

two classes:

        Producer Class
        All persons or entities within the United States that directly sold to a Defendant one
        or more fed cattle for slaughter during the Class Period other than on a cost-plus
        basis.

        Exchange Class
        All persons who transacted in live cattle futures and/or options traded on the CME
        or another U.S. exchange during the Class Period.153

        212.   Excluded from both Classes are Defendants and their officers, directors,

management, employees, subsidiaries, and affiliates. Also excluded is the Judge presiding

over this action, his or her law clerks, spouse, and any person within the third degree of

relationship living in the Judge’s household and the spouse of such a person.




152
        Theopolis Waters, Livestock-CME live cattle futures sag with initial cash prices,
REUTERS,       Aug.    14,     2015,    https://www.reuters.com/article/markets-livestock-
cattle/livestock-cme-live-cattle-futures-sag-with-initial-cash-prices-
idUSL1N10P2MG20150814.
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        The Exchange Class includes persons who established positions prior to the
commencement of the Class period but who closed out or stood for delivery on these
positions after the Class Period commenced. As noted below, Plaintiffs reserve the right
to amend the Class definitions as the litigation progresses to include, by way of example
and not limitation, all persons who transacted in CME feeder cattle futures and options
during the Class Period.


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       213.    “Fed cattle” means steers and heifers, whether beef breeds or Holsteins,

which are raised and fed specifically for beef production. “Class Period” means the period

from January 1, 2015 through the present. “Cost-plus basis” means an agreement to sell

fed cattle at a price determined by the producers’ costs of production without regard to

prevailing cash cattle prices.

       214.   Members of the Classes are so numerous and geographically dispersed that

joinder is impracticable. Further, members of the Producer Class are readily identifiable

from information and records in the possession of Packing Defendants or third parties

(including commercial feedlots and marketing cooperatives engaged by certain Class

members). Members of the Exchange Class are readily identifiable from information and

records in the possession of the CME, or capable of identification via third parties.

       215.   Plaintiffs’ claims are typical of the claims of the members of both Classes.

Plaintiffs and members of both Classes were damaged by the same wrongful conduct of

Defendants.

       216.   Plaintiffs will fairly and adequately protect and represent the interests of

members of both Classes. The interests of Plaintiffs are coincidental with, and not

antagonistic to, those of members of the Classes. Producer Plaintiffs and all members of

the Producer Class are similarly affected by Packing Defendants’ wrongful conduct in that

they received artificially low prices for fed cattle sold to Packing Defendants. Exchange

Plaintiffs and all members of the Exchange Class are similarly affected by Defendants’

course of conduct in violation of the Commodity Exchange Act.




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       217.   Plaintiffs are represented by counsel with experience in the prosecution and

leadership of class action antitrust, commodities manipulation and other complex litigation,

including class actions in the financial services industry.

       218.   Questions of law and fact common to the members of both Classes

predominate over questions that may affect only individual Class members, thereby

making relief with respect to members of both Classes as a whole appropriate. Questions

of law and fact common to members of the Classes include, but are not limited to:

              a.     whether Packing Defendants engaged in a combination and

                     conspiracy among themselves to fix, depress, suppress, and/or

                     stabilize the prices of fed cattle purchased in the United States;

              b.     whether Packing Defendants engaged in a combination and

                     conspiracy among themselves to allocate the market for the purchase

                     of fed cattle offered for sale in the United States;

              c.     the identity of the participants of the alleged conspiracy;

              d.     the duration of the alleged conspiracy and the acts carried out by

                     Packing Defendants in furtherance of the conspiracy;

              e.     whether Packing Defendants’ alleged conspiracy violated federal

                     antitrust laws

              f.     whether Packing Defendants’ alleged conspiracy and/or course of

                     business violated the Packers and Stockyards Act;

              g.     whether Defendants’ conduct violated Sections 6(c)(3), 9(a) and 22 of

                     the Commodity Exchange Act;


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             h.     whether Defendants’ conduct violated Sections 6(c)(1) and 22 of the

                    Commodity Exchange Act;

             i.     whether Defendants acted to aid and abet violations of the Commodity

                    Exchange Act;

             j.     whether John Doe Defendants’ unlawful conduct caused cognizable

                    legal injury under the Commodity Exchange Act;

             k.     whether Plaintiffs and members of the Classes suffered injury;

             l.     the amount of damages suffered by Plaintiffs and members of the

                    Classes; and

             m.     the appropriate type and scope of injunctive and related equitable

                    relief.

      219.   A class action is superior to other methods for the fair and efficient

adjudication of this controversy because joinder of all Class members is impracticable.

Treatment as a class action will permit a large number of similarly situated persons to

adjudicate their common claims in a single forum simultaneously, efficiently, and without

the duplication of effort and expense that numerous individual actions would engender.

Class treatment will also permit the adjudication of claims by many class members who

could not afford individually to litigate claims such as those asserted in this Complaint.

The cost to the court system of adjudication of such individualized litigation would be

substantial. The prosecution of separate actions by individual members of the Classes

would create a risk of inconsistent or varying adjudications, establishing incompatible

standards of conduct for Defendants.


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        220.   Plaintiffs know of no special difficulty to be encountered in the maintenance

of this action that would preclude its maintenance as a class action.

        221.   Plaintiffs have defined members of the Classes based on currently available

information and hereby reserve the right to amend the definition of members of the Classes,

including, without limitation, the length of the Class Period.

XI.     STATUTE OF LIMITATIONS AND TOLLING

        222.   The statutes of limitations governing Plaintiffs’ claims against Packing

Defendants were tolled under the doctrine of fraudulent concealment. The doctrine applies

here because Packing Defendants fraudulently concealed their misconduct through their

own affirmative acts, and because Defendants’ conduct was inherently self-concealing.

        223.   Packing Defendants actively concealed their violations of law from Plaintiffs

and both Classes by, amongst other matters, (i) relying on non-public forms of

communication; (ii) offering pre-textual justifications for their plant closures, slaughter

reductions and withdrawal from the cash cattle trade; (iii) explicitly and implicitly

representing that the fed cattle bids and contract terms Packing Defendants offered

Plaintiffs and the Producer Class were the product of honest competition and not a

conspiracy; and (iv) affirmatively misrepresenting that they complied with applicable laws

and regulations, including antitrust laws. Below is a list of non-exhaustive examples of

such statements that each Packing Defendant published during the Class Period:

               a.     Tyson’s Code of Conduct extolled Tyson’s compliance with antitrust

                      laws throughout the Class Period. The Code’s most recent iteration,

                      from October 2018, reports that Tyson “compete[s] in the market with


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             integrity and compl[ies] with competition laws . . . . We comply with

             the letter and spirit of competition laws . . . wherever we do business.”

        b.   JBS’s 2014 Annual Report detailed the policies it had in place to

             “ensure ethical conduct and integrity in the management of its

             business”, including its Manual of Ethical Conduct, which “addresses

             issues related to violations, conflicts of interest, third-party contracts,

             employment practices, receiving gifts, decision making, anti-

             corruption practices and other sensitive topics.” JBS also launched

             an “Always Do The Right Thing” compliance program in July 2017.

        c.   Cargill stressed in its 2015 Corporate Responsibility report that “[w]e

             obey the law. Obeying the law is the foundation on which our

             reputation and Guiding Principles are built . . . . We conduct our

             business with integrity . . . . We compete vigorously, but do so fairly

             and ethically. We . . . comply with the laws and regulations that

             support fair competition and integrity in the marketplace.” Cargill

             reiterated this message in its subsequent Corporate Responsibility

             reports.

        d.   National Beef Packing’s former majority shareholder, Jeffries

             Financial Group, Inc. (formerly Leucadia National Corporation) noted

             in its 2014 Annual Report that National Beef was “subject to extensive

             government regulation” including by the USDA.




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          224.   Packing Defendants’ conspiracy was inherently self-concealing because it

relied on secrecy for its successful operation. Had the public learned that Packing

Defendants conspired to fix prices in the fed cattle market, their conspiracy could not have

continued for as long as it did. Accordingly, Plaintiffs could not have learned of Packing

Defendants’ anticompetitive conduct until recently.

          225.   Because of Packing Defendants’ fraudulent concealment, Plaintiffs and both

Classes were not aware of Packing Defendants’ misconduct and could not have discovered

it through the exercise of due diligence until recently. Plaintiffs and members of both

Classes have acted diligently in seeking to bring their claims promptly.

          226.   Accordingly, Plaintiffs assert that the applicable statutes of limitations on

Plaintiffs’ claims were tolled. Defendants are also equitably estopped from asserting any

statute of limitations defense.

XII.      CLAIMS FOR RELIEF

                    FIRST CLAIM FOR RELIEF
    MARKET ALLOCATION AND PRICE-FIXING IN VIOLATION OF THE
                    SHERMAN ACT, 15 U.S.C. §1
               (Alleged against all Packing Defendants)

          227.   Plaintiffs hereby repeat and incorporate by reference each preceding and

succeeding paragraph as though fully set forth herein.

          228.   During the Class Period, Packing Defendants controlled the slaughter of fed

cattle in the United States and thus the available marketing outlets for fed cattle producers.

Packing Defendants were horizontal competitors in the market for the purchase of fed

cattle.



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          229.   From at least January 1, 2015 and continuing to the present, the exact dates

being unknown to Plaintiffs, Packing Defendants engaged in a continuing agreement,

understanding and conspiracy in an unreasonable and unlawful restraint of trade to allocate

the market for, and artificially fix, depress, suppress, or stabilize the price of fed cattle in

violation of Section 1 of the Sherman Act, 15 U.S.C. §1. Packing Defendants’ conspiracy

is a per se violation of federal antitrust laws and is, in any event, an unreasonable and

unlawful restraint of trade.

          230.   Packing Defendants’ conspiracy and the resulting impact on fed cattle prices

received by producers occurred in and affected U.S. interstate commerce.

          231.   As a proximate result of Packing Defendants’ unlawful conduct, Producer

Plaintiffs and members of the Producer Class have suffered injury to their business or

property. These injuries included, but were not limited to, receiving artificial and non-

competitive prices for fed cattle sold to Packing Defendants. Plaintiffs and the Producer

Class were also deprived of the benefits of free and open competition in the market for the

purchase of fed cattle. Producer Plaintiffs and members of the Producer Class are each

entitled to treble damages for Packing Defendants’ violations of the Sherman Act alleged

herein.

          232.   As a proximate result of Packing Defendants’ unlawful conduct, R-CALF

USA has suffered injury to its business and property. These injuries included, but were not

limited to, the frustration of its mission to protect the interest of its members, and diversion

of R-CALF USA’s resources to: (a) help its members mitigate the injuries incurred as a




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proximate result of Packing Defendants’ unlawful conduct; and (b) to prevent further

breaches of the law by the same.

       233.    Producer Plaintiffs, R-CALF USA and the members of the Producer Class

are threatened with future injury to their businesses and property unless the injunctive relief

requested is granted.

                   SECOND CLAIM FOR RELIEF
VIOLATIONS OF PACKERS AND STOCKYARDS ACT, 7 U.S.C. §§192 and 209
               (Alleged Against All Packing Defendants)

       234.   Plaintiffs hereby repeat and incorporate by reference each preceding and

succeeding paragraph as though fully set forth herein.

       235.   Title 7 U.S.C. §192 provides, in pertinent part, “[i]t shall be unlawful for any

packer with respect to livestock . . . to . . . (a) [e]ngage in or use any unfair, unjustly

discriminatory, or deceptive trade practice or device; or . . . (e) [e]ngage in any course of

business or do any act for the purpose or with the effect of manipulating or controlling

prices, or of creating a monopoly in the acquisition of, buying, selling, or dealing in, any

article, or of restraining commerce; or (f) [c]onspire, combine, agree, or arrange with any

other person (1) to apportion territory for carrying on business, or (2) to apportion

purchases or sales of any article, or (3) to manipulate or control prices; or (g) [c]onspire,

combine, agree, or arrange with any other person to do, or aid or abet the doing of, any act

made unlawful by subdivisions (a), (b), (c), (d), or (e).”

       236.   Title 7 U.S.C. §209 further provides that, “[i]f any person subject to this

chapter violates any of the provisions of this chapter . . . relating to the purchase, sale, or

handling of livestock, . . . he shall be liable to the person or persons injured thereby for the


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full amount of damages sustained in consequence of such violation.” Such liability may

be enforced “by suit in any district court of the United States of competent jurisdiction[.]”

          237.   Deceptive trade practices under the Packers and Stockyards Act are

addressed in the Code of Federal Regulations in Part 201 of Title 9. Section 201.70 states

“[e]ach packer and dealer engaged in purchasing livestock, in person or through employed

buyers, shall conduct his buying operations in competition with, and independently of,

other packers and dealers similarly engaged.”

          238.   From at least January 1, 2015 and continuing to the present, the exact dates

being unknown to Plaintiffs, Packing Defendants violated 7 U.S.C. §192(a), (e), (f), and

(g) by engaging in a course of business and doing acts for the purpose or with the effect of

reaching and implementing a conspiracy, combination, agreement, or arrangement to

allocate the market for, and artificially fix, depress, suppress, or stabilize the price of fed

cattle.

          239.   The effect of these acts and this conspiracy, combination, agreement, or

arrangement, was to fix, depress, suppress, stabilize, or otherwise artificially manipulate

the price of fed cattle bought by Packing Defendants.           Packing Defendants had no

legitimate business justification for these acts and this conspiracy, combination, agreement,

or arrangement.

          240.   As a proximate result of Packing Defendants’ breaches of the Packers and

Stockyards Act, Producer Plaintiffs, R-CALF USA, and the members of the Producer Class

have been injured and damaged in their respective businesses and property, including those

injuries detailed at ¶¶231 and 232.


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                       THIRD CLAIM FOR RELIEF
          UNJUST ENRICHMENT IN VIOLATION OF COMMON LAW
                  (Alleged Against All Packing Defendants)

       241.   Plaintiffs incorporate by reference and re-allege the preceding allegations, as

though fully set forth herein.

       242.   Plaintiffs and Producer Class members sold fed cattle during the Class Period

directly to Packing Defendants. These transactions were supposed to be priced based on

competitive market forces and reflect honest competition by Packing Defendants.

       243.   However, rather than competing honestly and aggressively with each other,

Packing Defendants colluded to fix, depress, suppress, or stabilize the prices paid to

Plaintiffs and the Producer Class for the purchase of their fed cattle.

       244.   Packing Defendants’ collusion enabled them to enjoy supra-competitive

profits at the expense of Plaintiffs and the Producer Class and caused Plaintiffs and the

Producer Class to receive less for sales of fed cattle to Packing Defendants than they

otherwise would have received had Defendants acted honestly and fairly.

       245.   It is unjust and inequitable for Packing Defendants to have enriched

themselves in this manner at the expense of Producer Plaintiffs and the Producer Class, and

equity and good conscience require Packing Defendants to make restitution.

       246.   Producer Plaintiffs and the Producer Class therefore seek restoration of the

monies of which they were unfairly and unlawfully deprived as described in this

Complaint.




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                         FOURTH CLAIM FOR RELIEF
                                  MANIPULATION
           IN VIOLATION OF THE COMMODITY EXCHANGE ACT
 7 U.S.C. §§1, ET SEQ. AND CFTC REGULATION 180.2, CFTC REGULATION
                                180.2, 17 C.F.R. §180.2
            (Alleged against all Packing Defendants and John Does 1-10)

       247.   Plaintiffs hereby repeat and incorporate by reference each preceding and

succeeding paragraph as though fully set forth herein.

       248.   During the Class Period, Packing Defendants, through their own conduct and

through the conduct of John Does 1-10, specifically intended to manipulate the prices of

fed cattle, the physical commodity underlying the CME live cattle futures and options

contracts, and specifically intended to manipulate the prices of CME live cattle futures and

options.

       249.   Packing Defendants, through their own conduct and the conduct of John

Does 1-10, had the ability to cause artificial prices in fed cattle and live cattle futures and

options. They did so through, among other things, their dominant position in the market

for the purchase of fed cattle, their superior access to information and reporting

mechanisms, their financial wherewithal, and their extensive involvement in the CME live

cattle futures and options trading and delivery processes.

       250.   Packing Defendants, through their own conduct and the conduct of John

Does 1-10, in fact caused artificial prices in the physical fed cattle market as well as in live

cattle futures and options markets.       Their conduct resulted in, among other things,

artificially low prices in the commodity underlying CME live cattle futures and options

prices and in the live cattle futures and options prices themselves.



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       251.   Packing Defendants and John Does 1-10 therefore engaged in unlawful

manipulation of CME live cattle and futures and options and their underlying physical

commodity in violation of Sections 6(c)(3), 7 U.S.C §9(3), 9(a) of the CEA, 7 U.S.C.

§13(a), Section 22 of the CEA, 7 U.S.C. §25(a), and CFTC Rule 180.2, 17 C.F.R. §180.2.

       252.   The manipulation by Packing Defendants and their conspirators and agents,

including John Does 1-10, deprived Exchange Plaintiffs and the Exchange Class of a

lawfully operating market during the Class Period and caused them to transact at artificial

prices which directly led to injury and economic damages.

       253.   Exchange Plaintiffs and Exchange Class members are each entitled to actual

damages and other relief from Packing Defendants and John Does 1-10.

                        FIFTH CLAIM FOR RELIEF
                MANIPULATIVE AND DECEPTIVE DEVICE
  IN VIOLATION OF THE COMMODITY EXCHANGE ACT, 7 U.S.C. §§1, ET
        SEQ. AND CFTC REGULATION 180.1(A), 17 C.F.R. §180.1(A)
         (Alleged Against All Packing Defendants and John Does 1-10)

       254.   Plaintiffs hereby repeat and incorporate by reference each preceding and

succeeding paragraph as though fully set forth herein.

       255.   Packing Defendants intended to affect or acted recklessly with regards to

affecting prices of CME live cattle futures and options contracts and engaged in overt acts

in furtherance of that intent.

       256.   Packing Defendants intentionally or recklessly used or employed a

manipulative device or artifice to defraud, and engaged in acts, practices, and/or courses of

business which operated as a fraud or deceit upon any person, in violation of Section 6(c)(1)




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of the CEA, 7 U.S.C. §9, and Section 22 of the CEA (7 U.S.C. §25), and Regulation

180.1(a), 17 C.F.R. §180.1(a).

       257.   Packing Defendants’ conduct proximately caused injury to Exchange

Plaintiffs and other members of the Exchange Class who transacted in an artificial and

manipulated market, at manipulated prices during the Class Period.

       258.   The manipulative and deceptive devices employed by Packing Defendants

and their conspirators and agents, including John Does 1-10, deprived Exchange Plaintiffs

and the Exchange Class of a lawfully operating market during the Class Period and caused

them to transact at artificial prices which directly led to injury and economic damages.

       259.   Exchange Plaintiffs and Exchange Class members are each entitled to actual

damages and other relief from Packing Defendants and John Does 1-10.

                        SIXTH CLAIM FOR RELIEF
                      PRINCIPAL-AGENT LIABILITY
  IN VIOLATION OF THE COMMODITY EXCHANGE ACT,7 U.S.C. §§1, ET
             SEQ. AND CFTC REGULATION 1.2, 17 C.F.R. §1.2
         (Alleged Against All Packing Defendants and John Does 1-10)

       260.   Plaintiffs hereby repeat and incorporate by reference each preceding and

succeeding paragraph as though fully set forth herein.

       261.   Packing Defendants’ traders, employees and/or officers, and conspirators,

including John Does 1-10, acted as agents for their principals, Packing Defendants, when

engaging in the manipulation and manipulative and deceptive devices and schemes

described herein.




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       262.   Packing Defendants are liable under Section 2(a)(1)(B) of the CEA, 7 U.S.C.

§2(a)(1)(B) and Regulation 1.2, 17 C.F.R. §1.2, for the manipulative acts of its agents,

representatives, and/or other persons acting for them in the scope of their employment.

       263.   The principal-agent violations by Packing Defendants and their conspirators

and agents, including John Does 1-10, deprived Plaintiffs and the Exchange Class of a

lawfully operating market during the Class Period and caused them to transact at artificial

prices which directly led to injury and economic damages.

       264.   Exchange Plaintiffs and Exchange Class members are each entitled to actual

damages and other relief from Packing Defendants and John Does 1-10.

                      SEVENTH CLAIM FOR RELIEF
                          AIDING AND ABETTING
  IN VIOLATION OF THE COMMODITY EXCHANGE ACT, 7 U.S.C. §§1, ET
                                     SEQ.
         (Alleged Against All Packing Defendants and John Does 1-10)

       265.   Plaintiffs hereby repeat and incorporate by reference each preceding and

succeeding paragraph as though fully set forth herein.

       266.   Packing Defendants and John Does 1-10 knowingly aided, abetted,

counseled, induced and/or procured the violations of the CEA alleged herein, including

violations by the other Packing Defendants and John Does 1-10.

       267.   Packing Defendants and John Does 1-10 did so knowing of their violations

of the CEA and willfully intended to assist these manipulations, which resulted in CME

live cattle futures and options prices, and their underlying physical commodity becoming

artificial, during the Class Period.




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       268.   Through their aiding and abetting violations, Packing Defendants and John

Does 1-10 violated Section 22(a)(1) of the CEA, 7 U.S.C. §25(a)(1).

       269.   Exchange Plaintiffs and Exchange Class members are each entitled to actual

damages and other relief from Packing Defendants and John Does 1-10.

XIII. PRAYER FOR RELIEF

       270.   Plaintiffs, on behalf of themselves and members of the Classes, request relief

as follows:

       A.     That the Court determine that this action may be maintained as a class action

under Rule 23(a) & (b) of the Federal Rules of Civil Procedure, that the Plaintiffs be named

as Class Representatives of both Classes, that the undersigned be named as Lead Class

Counsel of both Classes, and direct that notice of this action, as provided by Rule 23(c)(2)

of the Federal Rules of Civil Procedure, be given to Class members;

       B.     That the Court enter an order declaring that Defendants’ actions, as set

forth in this Complaint, violate the f ederal laws set forth above;

       C.     That the Court award Plaintiffs and members of the Classes damages, treble

damages, punitive damages, and/or restitution in an amount to be determined at trial;

       D.     That the Court issue appropriate injunctive and other equitable relief against

Defendants;

       E.     That the Court award Plaintiffs pre- and post-judgment interest;

       F.     That the Court award Plaintiffs their costs of suit, including reasonable

attorneys’ fees and expenses, including costs of consulting and testifying experts; and




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       G.     That the Court award any and all such other relief as the Court may deem

just and proper.

XIV. JURY DEMAND

       271.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial

by jury on all matters so triable.

Dated: July 15, 2019
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